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                          UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF NEW YORK



AARON ABADI,
             Plaintiff


V.                                                  CASE # _______________
BRITISH AIRWAYS PLC,
MATTHEW ROBERTS,
WENDY GOMEZ,                                        December 18, 2021
AND NUMEROUS UNNAMED
EMPLOYEES OF BRITISH AIRWAYS PLC,                    JURY TRIAL REQUESTED-
                           Defendants.



                                      COMPLAINT

             Plaintiff, Aaron Abadi, brings this action pro se, against defendants,

British Airways PLC, and several of its employees, alleging that defendants

discriminated against him due to his disability, conspired to deny him his civil

rights, and caused him weeks of frustration, anxiety, and anguish.



                                         PARTIES

      1)     Plaintiff, Aaron Abadi, is an American citizen, and resides in the City
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of New York. His address is 82 Nassau Street, Apt. 140, New York, NY 10038.

      2)     British Airways PLC is a foreign corporation based at Waterside Box

365, Harmondsworth, United Kingdom. They have a New York office at 11 West

42nd Street, 24th Floor, New York, NY 10036. (Exhibit 1) Their registered agent for

process service in New York State is CT Corporation System, 28 Liberty Street,

New York, NY 10005. They have additional offices in New York, at JFK

International Airport (Cargo Bldg 66) Jamaica, NY, 11430, and at Terminal 7, JFK

International Airport, Jamaica, NY 11430.

      3)     Matthew Roberts is the Airport Manager for British Airways PLC at

Washington Dulles Airport and at the Baltimore International Airport. His mailing

address is P.O. Box # 17286, Washington, DC 20041. He has identified himself as

the Complaints Resolution Officer for British Airways.

      4)     Wendy Gomez is an employee at the JFK Airport office of British

Airways, listed above, and can be reached at those addresses.

      5)     There were several other employees of British Airways that

participated in the discrimination and harassment of this Plaintiff, and they will be

added as defendants upon receipt of their names and pertinent information, through

the discovery process.
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                  BASIS FOR JURISDICTION, VENUE, & STANDING

      6)              This Court has jurisdiction over this case under 28 U.S.C. § 1331:

“The district courts shall have original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.” These claims arise under

the American Carrier Access Act (“ACAA”) (49 USC § 41705), 24, and 42 U.S.

Code § 1985 - Conspiracy to interfere with civil rights, amongst other federal and

state claims.

      7)        The claims are in excess of $75,000 and are against citizens of a foreign

state, and are therefore subject to the jurisdiction of this court. 28 USC §1332. “The

district courts shall have original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs,

and is between—(1) citizens of different States; (2) citizens of a State and citizens

or subjects of a foreign state…(3) citizens of different States and in which citizens

or subjects of a foreign state are additional parties…”

      8)        This case spans four different states and deals with a corporation based

in England. The discrimination happened at JFK Airport in Jamaica, New York, and

additionally regarding flights from Newark Airport in New Jersey, Baltimore

Airport in Maryland, and Dulles Airport in Virginia.

      9)        This Court has the authority to grant declaratory and injunctive relief

as well as monetary damages under the Declaratory Judgment Act and this Court’s
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inherent powers. 28 U.S.C. §§ 2201 & 2202.

      10)           Venue is proper in this judicial district because Plaintiff is a

resident of Manhattan, and Defendant, British Airways corporate office is in

Manhattan. Additionally, the registered agent address is also in Manhattan. This

would be enough to subject them to jurisdiction, if this district was a separate state.

“… in a State which has more than one judicial district and in which a defendant that

is a corporation is subject to personal jurisdiction at the time an action is commenced,

such corporation shall be deemed to reside in any district in that State within which

its contacts would be sufficient to subject it to personal jurisdiction if that district

were a separate State…” 28 U.S.C. § 1391(d).

      11)           Plaintiff has standing to sue the defendants because they illegally

discriminated against him on the basis of his medical condition by denying him the

ability to fly without wearing a mask, and harassed him, ridiculed him, and made

him comes back on multiple occasions, until finally denying him completely.

      12)           A court order declaring unlawful and enjoining all defendants’

illegal discrimination and contract breaches – plus an award of compensatory and

punitive damages – would redress Plaintiff’s injuries.

                                STATEMENT OF FACTS

      1.     To slow the spread of COVID-19, on January 21, 2021, President

Biden issued Executive Order 13998, which directs the heads of certain Federal
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agencies to take immediate actions to require mask-wearing in domestic and

international transportation.

       2.     On January 29, 2021, CDC issued an order directing conveyance

operators, which includes airlines, to use best efforts to ensure that any person on

the conveyance, such as an aircraft, wears a mask when boarding, disembarking

and for the duration of travel. Recognizing that there are specific instances when

wearing a mask may not be feasible, the CDC Order exempts several categories of

persons from the mask mandate, including “a person with a disability who cannot

wear a mask, or who cannot safely wear a mask because of the disability as defined

by the Americans with Disabilities Act (42 U.S.C. 12101 et seq.). The Americans

with Disabilities Act (ADA) defines a person with a disability to include a person

who has a physical or mental impairment that substantially limits one or more

major life activities.

       3.     In the months prior, in response to COVID-19, U.S. and foreign air

carriers generally have implemented their own policies requiring passengers to

wear masks onboard aircraft even before the issuance of the Executive Order and

the CDC Order. Many carriers have adopted policies that expressly allowed “no

exceptions” to the mask requirement other than for children under the age of two.

People with disabilities that could not wear masks were not permitted to fly, in

direct violation of the Air Carrier Access Act (ACAA), which is a set of laws that
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makes it illegal for airlines to discriminate against passengers because of their

disability.

       4.     The ACAA laws (from 382.17 to 382.35) describe the following

actions as discrimination:

       a.     382.17 “May carriers limit the number of passengers with a disability

on a flight? As a carrier, you must not limit the number of passengers with a

disability who travel on a flight.”

       b.     382.19 “May carriers refuse to provide transportation on the basis of

disability? As a carrier, you must not refuse to provide transportation to a

passenger with a disability… except… You may refuse to provide transportation to

any passenger on the basis of safety, as provided in 49 U.S.C. 44902. The 49

U.S.C. 44902 refers to safety issues such as someone who doesn’t consent to a

TSA search of themselves or their items. They mention another scenario, which

also refers to the safety of the flight. Neither refers to wearing a mask. It then says

you can refuse a passenger who poses a “direct threat,” which is established law

that requires a significant risk, which also won’t apply in a case where there are no

symptoms, and especially this Applicant who has natural immunity.

       c.     382.21 “May carriers limit access to transportation on the basis that a

passenger has a communicable disease or other medical condition?” You cannot,

unless, again, the person is determined to pose a direct threat.
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      d.     382.23 “May carriers require a passenger with a disability to provide a

medical certificate?” Essentially, you cannot require a medical certificate unless

the “medical condition is such that there is reasonable doubt that the individual can

complete the flight safely, without requiring extraordinary medical assistance

during the flight.” Also, if there’s a direct threat of a communicable disease.

      e.     382.25 “May a carrier require a passenger with a disability to provide

advance notice that he or she is traveling on a flight?” No, except in special

circumstances.

      f.     382.33 ‘May carriers impose other restrictions on passengers with a

disability that they do not impose on other passengers?” No, except in special

circumstances.



      5.     Plaintiff has a disability, specifically sensory processing disorder, and

cannot wear a mask. His senses go into overload when he wears anything on his

face or head, including glasses, sunglasses, or a baseball cap. This is a permanent

condition that he had his entire life and will continue to have for the remainder of

his life. He carries around a doctor’s letter clarifying that he cannot wear a mask,

and has sent a copy to British Airways medical clearance unit (Attached as Exhibit

2 is the Doctor’s letter and a redacted medical chart as Exhibit 3)

      6.     As per ADA guidelines and ACAA guidelines, which are almost
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identical in this aspect, this Applicant should be exempt from wearing a mask. See

the ADA and Face Mask Policies _ Southeast ADA Center, where it clearly

defines the sensory disability, and states that such a person should be exempt

(Exhibit 4). In any case, sensory processing disorder, when activated, creating

sensory overload, it limits almost all major life activities, as the Applicant cannot

function, which fits the ACAA and ADA criteria of disability completely.

      7.     In clarifying the definition of disability, ACAA 28 CFR § 36.105 (1)

says “Physical or mental impairment means: (i) Any physiological disorder or

condition, cosmetic disfigurement, or anatomical loss affecting one or more body

systems, such as: Neurological, musculoskeletal, special sense organs, respiratory

(including speech organs), cardiovascular, reproductive, digestive, genitourinary,

immune, circulatory, hemic, lymphatic, skin, and endocrine.”

      8.     Plaintiff’s disorder affects the body system related to the sense of

touch, specifically, and is included in the above definition of disability. Touch is

the ability to sense pressure, vibration, temperature, pain, and other tactile stimuli.

These types of stimuli are detected by mechanoreceptors, thermoreceptors, and

nociceptors all over the body, most noticeably in the skin. These receptors are

especially concentrated on the tongue, lips, face, palms of the hands, and soles of

the feet. The law recognizes that a disorder in the important sense of touch severely

limits many major life activities.
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      9.     Applicant already had Covid in October 2020, as evidenced in the

same doctor’s letter, therefore without any symptoms, he would not pose a “direct

threat” to justify an airline to deny him access due to his disability, and thus his

inability to wear a mask. The ACAA defines this term as follows: “Direct threat

means a significant risk to the health or safety of others…” (14 CFR § 382.3).

Based on the CDC own guidance that “Covid reinfection is rare,” and therefore

there should not be any direct threat for someone who already had Covid and thus

has natural immunity, without obvious symptoms. (Exhibit 5).

      10.    The basic sequence of events are as follows: On December 13

Plaintiff reached out to the medical clearance unit at British Airways explaining

the disability and requesting clearance to fly with British Airways without a mask.

      11.    On December 14, British Airways medical clearance unit approved

his request, advising Plaintiff to carry his doctor’s letter to show the staff during

the trip upon request (Exhibit 6).

      12.    On January 17, 2021, Plaintiff purchased a ticket on British Airways

(Exhibit 7) to fly from New York to Bangalore, India, where Plaintiff has a very

important and valuable business opportunity that he has been working towards for

6 years. The flight was subsequently canceled, and Plaintiff switched his flight to

leave on January 22, 2021 (Exhibit 8).

      13.    On January 22, Plaintiff arrived at Terminal and came to his flight
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with evidence of a medical disability and inability to wear a mask, namely a

doctor's letter, and a pre-approval email from the British Airways medical

clearance unit. He also had a valid Indian Visa. The airline check-in staff kept him

there for over an hour and a half questioning the disability and saying, “you cannot

fly without a mask.” Eventually they agreed that they can allow him to fly without

a mask, but said they cannot let him board because the visa isn't valid. They called

their office in Bangalore and that's what they were told.

      14.    Plaintiff went home and contacted the Indian Consulate and the

Bureau of Immigration of India, and received emails from each confirming that the

visa is actually valid. He returned to the airport on Feb 3 and tried again. He went

through a very similar routine, where they were trying to explain to him that the

laws changed and now, he cannot fly without a mask. Eventually, again they said

the visa was not valid, even though Plaintiff showed them the emails from the

Indian Consulate and Immigration offices (Exhibits 9 & 10). At the end they said

he should come back Friday night and they will get him on. They said it was just

too late, and too close to the flight’s departure. On Friday night Feb 5 they kept

Plaintiff there for another hour and eventually said that they cannot fly me to India

due to my visa being invalid. This is absolutely not true and I brought them

evidence to that.

      15.    All this time I was staying in Philadelphia at a friend and had to drive
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a few hours each way to and from the airport. On Tuesday Feb 9, I drove to Dulles

Airport and talked to the Airport manager, Matt Roberts. Dulles Airport was a

relatively similar distance from Philadelphia, so it made sense to try from there.

      16.    I was hoping that maybe the people are different there and I’d be

treated better. He seemed nice and helpful. He looked into the visa issue and after

an hour of research he told me that the NY check‐in staff made a mistake and my

visa is absolutely valid. He said he will call me in a day or two to confirm.

      17.    I called him Thursday Feb 11, and he told me, yes, the visa is fine, but

they cannot allow me to fly without a mask. He sent an email to that effect too

(Exhibit 11). I asked him to speak to the Complaint Resolution Official (CRO), and

he said that he's the CRO and he cannot allow me to fly without a mask. This is so

frustrating. They were playing with me. My time has value. My life has value. I

need to travel for my income. This is in violation of federal and state laws. This is

so unfair.

      18.    With the hope that at some point, British Airways and the other

defendants realized that they were violating the law, and were prepared to finally

allow Plaintiff to fly without a mask, Plaintiff sent another email on December 14,

2021, asking if he can now fly without a mask due to his disability.

      19.    Matthew Roberts responded on December 15, 2021, that nothing has

changed, confirming that Plaintiff can still not fly without a mask in spite of his
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disability (Exhibit 12).

      20.    The disability discrimination is continuous from January 22, 2021,

through December 15, 2021, and ongoing thereafter, indefinitely.

      21.    While several other airlines do fly to destinations that are necessary

for Plaintiff to reach, only Air France has allowed Plaintiff to fly maskless, without

discrimination. In the past few months, Plaintiff had serious difficulty finding

available flights on Air France to Bangalore India, where he needs to travel.

      22.    This leaves Plaintiff at the mercy of British Airways, and as you see,

there was and is no mercy at all. Plaintiff was completely unable to fly to

Bangalore, India in the recent months.

                                 INJURIES & AFFECTS

      23.    There was a cost of $802.19 just to go back and forth to the airport on

the multiple futile trips, itemized in Exhibit 13.

      24.    The aggravation of packing and traveling for hours, never knowing if

I will be successful. This was over a period of a few weeks, packing and saying

goodbye to my family, arranging the trip to the airport, getting to the airport, going

through the emotional trauma of an hour or more of interrogations and harassment,

and just hanging in limbo never knowing if I will ever get to my destination.

      25.    The anxiety, mental anguish, frustration and overall emotional trauma

of being played with every few days, knowing that my income was reliant on my
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ability to travel.

       26.    The denial of my rights to travel, the discrimination against me

because of my disabilities, the discomfort, humiliation, and embarrassment of

sitting at the check in counter, treated like a freak.

       27.    The loss of extremely important and lucrative business opportunities

due to my inability to travel. The details of these will be described and proven

during discovery period prior to the trial. Plaintiff believes that these damages

may be in the millions of dollars, and expects to prove the same.

       28.    I will work on providing estimates of the actual dollar amounts of the

damages, with their justifications, to monetize the above injuries and provide a

clear dollar amount, in time for a trial. The discrimination is ongoing, so the

figures are fluid.



                                    CAUSE OF ACTION

       29.    Count One: Violation of Federal Regulation: Refusing

Transportation Solely on the Basis of a Passenger’s Disability.

       30.    For this and all other causes of action, plaintiff realleges and

incorporates by reference the allegations and facts contained from 1-22 and all

exhibits attached hereto as though set forth fully herein.

       31.    The Airline and the Defendants refuse to carry this disabled passenger
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who cannot wear a mask. They knew about the disability. They even approved

him to travel, but never actually allowed him on the planes.

       32.    “As a carrier, you must not refuse to provide transportation to a

passenger with a disability on the basis of his or her disability…” 14 CFR §

382.19(a).

       33.    Therefore, the Airline and Defendants are liable to Plaintiff for

violating the Air Carrier Access Act (“ACAA”).

       34.    These laws apply to U.S, carriers and foreign carriers for flights to and

from U.S. soil. “If you are a foreign carrier, this part applies to you only with

respect to flights you operate that begin or end at a U.S. airport and to aircraft used

for these flights.” § 382.7 (b)

       35.    While there is significant debate as to the question if ACAA

violations are subject to a private right of action, and there are many cases where it

was permitted, while more recently it has been denied, in this case where the

Department of Transportation (“DOT”) completely refuses to act, and on the

contrary, they encourage the airlines to violate the laws, I believe there must be a

right to action.

       36.    Plaintiff has a lawsuit in the 2nd Circuit Court of Appeals, ABADI v.

DOT, Case # 21-2807 where the details of the DOT’s lack of enforcement, failure

to protect the disabled, and their deliberate ambiguous instructions to airlines have
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been encouraging widespread discrimination.

      37.    Nothing in that lawsuit or in my words should be taken as a license for

defendants to blame the DOT, and be off the hook. The Defendant British

Airways PLC has expensive and intelligent attorneys that can sit down and read the

laws, and instruct their people top follow. Actually, a child in high school can read

the laws and get a pretty clear understanding.

      38.    The DOT do not make the laws, and cannot change the laws. Their

job is to enforce them. If they are lax on their job, Plaintiff should be entitled to a

private right of action. Congress most certainly did not want the disabled to suffer

discrimination with no recourse whatsoever.

      39.    Many cases over the years have been allowed as a private right to

action on ACAA laws. In normal circumstances maybe we have been veering

toward relying on the DOT to handle those laws. These are not normal

circumstances.

      40.    The Cause of Action codes table issued April 25, 2021, by the

Administrative Office of the U.S. Courts includes a code for a private action under

the ACAA: “49:41705 Air Carrier Access Act (discrimination against handicapped

individuals).”

      41.    The Eighth Circuit is among those that recognize a private right of

action under the ACAA.
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      42.    Congress passes civil-rights laws to protect classes of people subject

to discrimination – including the disabled. If the executive department tasked with

enforcing the statute neglects its duty, Congress intends for those illegally dis-

criminated against to have a remedy – and in this case, the only remedy is a private

lawsuit. This Plaintiff filed a complaint with the Department of Transportation

(DOT), but received no response. The DOT refuses to enforce the ACAA.

      43.    Therefore, the Airline and all Defendants are liable to Plaintiff for

violating the Air Carrier Access Act.

      44.     This explanation shall be incorporated in all the violations herein that

are from ACAA laws.

      45.    Count Two: Defendants did not provide the required written

statement of the reason for their refusal to allow me to fly on their planes.

      46.    14 CFR § 382.19 (d) “If you refuse to provide transportation to a

passenger on his or her originally-scheduled flight on a basis relating to the

individual's disability, you must provide to the person a written statement of the

reason for the refusal. This statement must include the specific basis for the

carrier's opinion that the refusal meets the standards of paragraph (c) of this section

or is otherwise specifically permitted by this part. You must provide this written

statement to the person within 10 calendar days of the refusal of transportation.”

      47.    Count Three: Defendants refused to provide this passenger
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transportation, on the claims of a possible communicable disease or infection,

without following the law and determining that Plaintiff was a direct threat.

As a matter of fact, Plaintiff was required by his destination airport and country,

Bangalore, India to provide a negative Covid PCR test, so each time he traveled, he

provided evidence of that to the airline. (Exhibit 14)

      48.    14 CFR § 382.21, “(a) You must not do any of the following things on

the basis that a passenger has a communicable disease or infection, unless you

determine that the passenger's condition poses a direct threat: (1) Refuse to provide

transportation to the passenger.”

      49.    Count Four: Passenger’s transportation was delayed multiple

times in violation of 14 CFR § 382.21, “(a) You must not do any of the following

things on the basis that a passenger has a communicable disease or infection,

unless you determine that the passenger's condition poses a direct threat: … (2)

Delay the passenger's transportation (e.g., require the passenger to take a later

flight)…”

      50.    Count Five: Defendants required a medical certificate, in violation

of the following:

      51.    14 CFR § 382.21, “(a) You must not do any of the following things on

the basis that a passenger has a communicable disease or infection, unless you

determine that the passenger's condition poses a direct threat: (3) Impose on the
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passenger any condition, restriction, or requirement not imposed on other

passengers; or Require the passenger to provide a medical certificate.”

      52.    Count Six: Defendants did not provide the required written

explanation within the required ten-day timeframe.

      53.    14 CFR § 382.21 (e) “If you take any action under this section that

restricts a passenger's travel, you must, on the passenger's request, provide a

written explanation within 10 days of the request.”

      54.    The request was made at each airport upon denial of transportation.

      55.    Count Seven: Not responding to a complaint filed. A Complaint

was filed by Plaintiff to the DOT on or about February 26, 2021.

      56.    Defendants did not respond to Plaintiff’s complaint to the DOT as

required.

      57.    14 CFR § 382.155 (d) As a carrier, you must make a dispositive

written response to a written disability complaint within 30 days of its receipt. The

response must specifically admit or deny that a violation of this part has

occurred…”

      58.    Count Eight: Conspiracy to interfere with civil rights: Defendants,

British Airways, the listed Defendants and the ones that will be added later, all

conspired to interfere with Plaintiff’s civil rights, by conspiring to deprive him of

his right to fly and by conspiring to deny him his rights in all the counts listed
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herein.

      59.    42 U.S. Code § 1985 - Conspiracy to interfere with civil rights. “…if

one or more persons engaged therein do, or cause to be done, any act in furtherance

of the object of such conspiracy, whereby another is injured in his person or

property, or deprived of having and exercising any right or privilege of a citizen of

the United States, the party so injured or deprived may have an action for the

recovery of damages occasioned by such injury or deprivation, against any one or

more of the conspirators.”

      60.    Count Nine: Neglecting to Prevent Interference with Civil Rights.

Defendants, employees of British Airways PLC, including the Numerous Unnamed

Employees (whose names will be obtained during discovery) were aware of the

conspiracy to interfere with the civil rights of the disabled by banning Plaintiff and

similarly disabled from all flights but did nothing to stop it. These Individual

Defendants possess the power to stop the conspiracy today but have not taken any

action to do so. This claim is thus ongoing and the one-year statute of limitations

does not apply.

      61.    “Every person who, having knowledge that any of the wrongs

conspired to be done, and mentioned in section 1985 of this title, are about to be

committed, and having power to prevent or aid in preventing the commission of

the same, neglects or refuses so to do, if such wrongful act be committed, shall be
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liable to the party injured, or his legal representatives, for all damages caused by

such wrongful act, which such person by reasonable diligence could have

prevented; and such damages may be recovered in an action on the case; and any

number of persons guilty of such wrongful neglect or refusal may be joined as

defendants in the action…” 42 USC § 1986.

      62.    Section 1986 creates a remedy against persons whose acquiescence

make conspiracies to interfere with civil rights possible.

      63.    Therefore, all to-be-named Individual Defendants in addition to the

listed defendants are personally liable to Plaintiff for neglecting to prevent

interference with his civil rights.

      64.    Count Ten: Violation of New York State Human Rights Law

(“HRL”). Defendants violated Plaintiff’s civil rights by denying him access to

fly, by mistreating him, yelling at him, and not treating him equally.

      65.    HRL § 291 (2) “The opportunity to obtain education, the use of places

of public accommodation and the ownership, use and occupancy of housing

accommodations and commercial space without discrimination because of age,

race, creed, color, national origin, sexual orientation, gender identity or expression,

military status, sex, marital status, or disability, as specified in section two hundred

ninety-six of this article, is hereby recognized as and declared to be a civil right.”

      66.    § 292 (9) “The term "place of public accommodation, resort or
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amusement" shall include… all public conveyances operated on land or water or in

the air, as well as the stations and terminals thereof…”

      67.    § 296 (2) (a) “It shall be an unlawful discriminatory practice for any

person, being the owner, lessee, proprietor, manager, superintendent, agent or

employee of any place of public accommodation, resort or amusement, because of

the race, creed, color, national origin, sexual orientation, gender identity or

expression, military status, sex, disability or marital status of any person, directly

or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof…”

      68.    Count Eleven: Violation 1 of Virginia Human Rights Act: The

Airline and Matthew Roberts refused to carry this disabled passenger who

cannot wear a mask. They knew about the disability. They even approved him to

travel, but never actually allowed him on the planes.

      69.    “As a carrier, you must not refuse to provide transportation to a

passenger with a disability on the basis of his or her disability…” 14 CFR §

382.19(a).

      70.    Therefore, the Airline and Defendants are liable to Plaintiff for

violating the Air Carrier Access Act (“ACAA”). As per Code of Virginia Human

Rights Act, any conduct that violates a federal statute or regulation, is an unlawful

discriminatory practice under Virginia State Law. This violation of federal ACAA
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laws therefore is a violation of discrimination under Virginia State Law.

      71.    Code of Virginia, Chapter 39. Virginia Human Rights Act § 2.2-3902.

“Conduct that violates any Virginia or federal statute or regulation governing

discrimination on the basis of race, color, religion, sex, sexual orientation, gender

identity, marital status, pregnancy, childbirth or related medical conditions

including lactation, age, military status, disability, or national origin is an unlawful

discriminatory practice under this chapter.”

      72.    Count Twelve: Violation 2 of Virginia Human Rights Act:

Defendants did not provide the required written statement of the reason for

their refusal to allow me to fly on their planes

      73.    Under the same justification as the previous count, where it is Virginia

State Law to recognize every federal violation as a discrimination under Virginia

State law, Plaintiff hereby incorporates Count number two above as a violation of

Virginia State Law, and thus separates it into its own count here.

      74.    Count Thirteen: Violation 3 of Virginia Human Rights Act:

Defendants refused to provide this passenger transportation, on the claims of

a possible communicable disease or infection, without following the law and

determining that Plaintiff was a direct threat.

      75.    Under the same justification as the previous count, where it is Virginia

State Law to recognize every federal violation as a discrimination under Virginia
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State law, Plaintiff hereby incorporates Count number three above as a violation of

Virginia State Law, and thus separates it into its own count here.

      76.    Count Fourteen: Violation 4 of Virginia Human Rights Act:

Passenger’s transportation was delayed, as British Airways PLC and Defendant

Matthew Roberts looked into the mask exemption issue, in violation of 14 CFR §

382.21, “(a) You must not do any of the following things on the basis that a

passenger has a communicable disease or infection, unless you determine that the

passenger's condition poses a direct threat: … (2) Delay the passenger's

transportation (e.g., require the passenger to take a later flight)…”

      77.    Under the same justification as the previous count, where it is Virginia

State Law to recognize every federal violation as a discrimination under Virginia

State law, Plaintiff hereby incorporates Count number four above as a violation of

Virginia State Law, and thus separates it into its own count here.

      78.    Count Fifteen: Violation 5 of Virginia Human Rights Act:

Defendants British Airways and Matthew Roberts required Plaintiff to

present a medical certificate, in violation of federal law 14 CFR § 382.21.

      79.    Under the same justification as the previous count, where it is Virginia

State Law to recognize every federal violation as a discrimination under Virginia

State law, Plaintiff hereby incorporates Count number five above as a violation of

Virginia State Law, and thus separates it into its own count here.
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 24 of 141




      80.    Count Sixteen: Violation 6 of Virginia Human Rights Act:

Defendants did not provide the required written explanation within the

required ten-day timeframe.

      81.    14 CFR § 382.21 (e) “If you take any action under this section that

restricts a passenger's travel, you must, on the passenger's request, provide a

written explanation within 10 days of the request.”

      82.    Under the same justification as the previous count, where it is Virginia

State Law to recognize every federal violation as a discrimination under Virginia

State law, Plaintiff hereby incorporates Count number six above as a violation of

Virginia State Law, and thus separates it into its own count here.

      83.    Count Seventeen: Violation 7 of Virginia Human Rights Act:

Defendants British Airways PLC and Matthew Roberts are in violation of

Virginia State Law that considers it an unlawful discriminatory practice to

refuse, withhold or deny an individual accommodation, advantages, services

etc. due to a medical disability.

      84.    § 2.2-3904. “Nondiscrimination in places of public accommodation;

definitions. "Place of public accommodation" means all places or businesses

offering or holding out to the general public goods, services, privileges, facilities,

advantages, or accommodations. B. It is an unlawful discriminatory practice for

any person, including the owner, lessee, proprietor, manager, superintendent,
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 25 of 141




agent, or employee of any place of public accommodation, to refuse, withhold

from, or deny any individual, or to attempt to refuse, withhold from, or deny any

individual, directly or indirectly, any of the accommodations, advantages,

facilities, services, or privileges made available in any place of public

accommodation…”

      85.    Count Eighteen: Violation 8 of Virginia Human Rights Act:

Defendants British Airways and Matthew Roberts sent a notice by email that

Plaintiff will not be permitted to fly with the airline due to his disability. This

is in violation of Virginia State Law.

      86.    § 2.2-3904 “It is an unlawful discriminatory practice for any person…

to publish, circulate, issue, display, post, or mail, either directly or indirectly, any

communication, notice, or advertisement to the effect that any of the

accommodations, advantages, facilities, privileges, or services of any such place

shall be refused, withheld from, or denied to any individual on the basis of race,

color, religion, national origin, sex, pregnancy, childbirth or related medical

conditions, age, sexual orientation, gender identity, marital status, disability, or

military status.”

      87.    Count Nineteen: Maryland Human Rights: Defendants British

Airways PLC and BWI Airport Manager, Matthew Roberts discriminated

against the Plaintiff by refusing to allow him to travel and benefit from British
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 26 of 141




Airways facilities and airplanes, at the Baltimore Airport in Maryland in

violation of the State of Maryland Human Rights Laws.

      88.    Pursuant to State Government Article, §20-304, Annotated Code of

Maryland, it is unlawful for an owner or operator of a place of public

accommodation or an agent/employee of the owner or operator to refuse, withhold

from, or deny to anyone the accommodations, advantages, facilities and privileges

of a place of public accommodation because of race, sex, age, color, creed,

national origin, marital status, sexual orientation, gender identity, or disability.

      89.    The law protects you in the following settings including, but not

limited to: Restaurants, Hotels, Theatres, Bus & Transportation Services…”

      90.    Count Twenty: New Jersey Human Rights violation; Defendants

withheld from and denied to this Plaintiff the facilities and privileges of

traveling on British Airways, utilizing the lounges in the airport, and flying on

their airplanes, from all airports, including Newark Airport located in New Jersey.

      91.    Law Against Discrimination “LAD” defines public accommodations

as follows: “A place of public accommodation shall include…any public

conveyance operated on land or water or in the air or any stations and terminals

thereof;” NJSA 10:5-5. (L)

      92.    N.J.S.A. 10:5-12 It shall be an unlawful employment practice, or, as

the case may be, an unlawful discrimination: f. (1) For any owner, lessee,
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 27 of 141




proprietor, manager, superintendent, agent, or employee of any place of public

accommodation directly or indirectly to refuse, withhold from or deny to any

person any of the accommodations, advantages, facilities or privileges thereof, or

to discriminate against any person in the furnishing thereof…”

      93.    Count Twenty-One: New Jersey Human Rights LAD; Defendants

British Airways and Matthew Roberts sent an email notice to Plaintiff

conveying that he will not be permitted to travel on British Airways (Exhibit

11), in violation of the New Jersey LAD.

      94.    N.J.S.A. 10:5-12 “It shall be an unlawful employment practice, or, as

the case may be, an unlawful discrimination: …directly or indirectly to publish,

circulate, issue, display, post or mail any written or printed communication, notice,

or advertisement to the effect that any of the accommodations, advantages,

facilities, or privileges of any such place will be refused, withheld from, or denied

to any person, on account of the race, creed, color, national origin, ancestry,

marital status, civil union status, domestic partnership status, pregnancy or

breastfeeding, sex, gender identity or expression, affectional or sexual orientation,

disability…”

      95.    Count Twenty-Two: NYC Civil Rights Laws: Unlawful

discriminatory practice by denying Plaintiff equal access to all facilities and to

fly from JFK Airport in Jamaica, New York, which is in the borough of Queens
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 28 of 141




in New York City.

      96.    The New York City Administrative Code Title 8: Civil Rights § 8-107

(4) “It shall be an unlawful discriminatory practice for any person who is the

owner, franchisor, franchisee, lessor, lessee, proprietor, manager, superintendent,

agent or employee of any place or provider of public accommodation… Because of

any person's actual or perceived race, creed, color, national origin, age, gender,

disability, marital status, partnership status, sexual orientation, uniformed service

or immigration or citizenship status, directly or indirectly: (a) To refuse, withhold

from or deny to such person the full and equal enjoyment, on equal terms and

conditions, of any of the accommodations, advantages, services, facilities or

privileges of the place or provider of public accommodation.”

      97.    Public Accommodation is defined as follows: “Place or provider of

public accommodation. The term "place or provider of public accommodation"

includes providers, whether licensed or unlicensed, of goods, services, facilities,

accommodations, advantages or privileges of any kind, and places, whether

licensed or unlicensed, where goods, services, facilities, accommodations,

advantages or privileges of any kind are extended, offered, sold, or otherwise made

available.” § 8-102

      98.    Count Twenty-Three: NYC Civil Rights Laws: Unlawful

discriminatory practice by Defendants British Airways and Matthew Roberts,
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 29 of 141




as they sent an email notice to Plaintiff conveying that he will not be permitted

to travel on British Airways (Exhibit 11), in violation of the NYC Civil Rights

Laws. Plaintiff was notified that he could not fly from JFK Airport in Jamaica,

New York, which is in the borough of Queens in New York City.

      99.    The New York City Administrative Code Title 8: Civil Rights § 8-107

(4) “It shall be an unlawful discriminatory practice for any person who is the

owner, franchisor, franchisee, lessor, lessee, proprietor, manager, superintendent,

agent or employee of any place or provider of public accommodation… 2. Directly

or indirectly to make any declaration, publish, circulate, issue, display, post or mail

any written or printed communication, notice or advertisement, to the effect that:

(a) Full and equal enjoyment, on equal terms and conditions, of any of the

accommodations, advantages, facilities and privileges of any such place or

provider of public accommodation shall be refused, withheld from or denied to any

person on account of race, creed, color, national origin, age, gender, disability.”

      100. Public Accommodation is defined as above in the previous count.

      101. Count Twenty-Four: NYC Civil Rights violation: Failed to engage

in a cooperative dialogue within a reasonable timeframe, rather strung Plaintiff

along for weeks until finally just denying him completely.

      102. The New York City Administrative Code Title 8: Civil Rights § 8-107

- 28 (b) Public accommodations. It shall be an unlawful discriminatory practice for
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 30 of 141




any person who is the owner, franchisor, franchisee, lessor, lessee, proprietor,

manager, superintendent, agent or employee of any place or provider of public

accommodation to refuse or otherwise fail to engage in a cooperative dialogue

within a reasonable time with a person who has requested an accommodation or

who the covered entity has notice may require an accommodation related to

disability as provided in subdivision 15 of this section.

        103. All defendants were all in violation of this law.

        104. Count Twenty-Five: Breach of Contract: Forcing This Passenger

to Wear Masks When They Never Agreed to Do So in the Contract of

Carriage (Exhibit 15) +General Conditions of Carriage.”

        105. The Airline and Defendants include no provisions in their contract of

carriage mandating that passenger wear face coverings. Forcing passengers to wear

a mask constitutes a breach of contract.

        106. Now, if there is a law requiring masks, then those people required by

that law to wear a mask, may have to wear a mask. The airline and its employees

cannot force someone who is exempt by those laws due to his disability, to wear a

mask.

        107. By forcing Plaintiff to wear a mask, and then denying him access to

fly without a mask, the Airline and its employees breached the contract.

        108. Defendants are responsible for damages and other relief for breach of
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 31 of 141




contract.

       109. Count Twenty-Six: Breach of Contract: Contract states in 9c that

if passenger is denied boarding against his will, he will receive compensation,

and provide refreshments and other care as provided by any law that may

apply.

       110. Plaintiff was denied boarding against his will on three separate

occasions and did not receive anything. DOT requires airlines to pay for

involuntary bumping from a flight.

       111. Count Twenty-Seven: Breach of Contract: Contract states that

“if you are a passenger with a disability, we will carry you where

arrangements have been made for your special needs, and we will use

reasonable efforts to accommodate your special needs.”

       112. Defendants did not accommodate, but rather they played with me,

yelled at me, and eventually completely denied me from traveling.

       113. Count Twenty-Eight: Deceptive & Misleading Trade Practices.

The Airline and Defendants have deceived this Plaintiff multiple times. They kept

telling him that he should come back in a few days and they will allow him to fly

without a mask.

       114. There was never an intent by the airport staff of ever allowing

Plaintiff to fly.
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 32 of 141




       115. DOT defines a practice as ‘‘deceptive’’ by showing that: “(1) The

practice actually misleads or is likely to mislead consumers; (2) who are acting

reasonably under the circumstances; (3) with respect to a material matter.” Id.

These requirements are codified at 14 CFR § 399.79.

       116. The airlines have a statutory duty not to deceive and mislead their

customers. 49 USC § 41712.

       876. Therefore, the Airline and defendants are liable to Plaintiff for

deceptive and misleading trade practices.

                                 PRAYER FOR RELIEF

       WHEREFORE, the plaintiff request this Court grant the following relief:

A.     Declaratory Relief: Declare that DOT has failed its statutory obligation to

enforce the ACAA, thereby creating a private right of action in this Court for me to

enforce the anti-discrimination law as Congress intended.

B.     Declare that the defendants have violated the ACAA and its underlying

regulations by mistreating Plaintiff, by denying him passage, by making him come

back and forth multiple times, and by discriminating against him due to his

disability.

C.     Injunctive Relief: Issue a permanent injunction prohibiting all defendants

from violating any of the laws listed in the counts above, and any other illegal

actions from any passenger asserting a mask exemption because of a medical
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condition unless that person is known to have a communicable disease such as

COVID-19 by information showing the person has tested positive for the

coronavirus in the last two weeks or the person presents with a fever of more than

100.4°F.

D.       Issue a permanent injunction prohibiting all defendants from forcing mask-

exempt passengers to do anything different than what is required for other

passengers.

E.       Compensatory Damages: Award Plaintiff compensatory damages to be

determined after discovery.

F.       Punitive Damages: Award Plaintiff punitive damages where applicable.

G.       Issue a permanent injunction prohibiting all defendants from forcing any

passenger not known to be infected with a communicable disease to cover their

face.

H.       Grant other declaratory and injunctive relief as may be necessary to ensure

that all defendants comply with the Air Carrier Access Act; Rehabilitation Act;

Food, Drug, & Cosmetic Act; their legal duty to ensure the health and safety of

their passengers; international law; and the Constitution.

I.       Grant such other and further relief as the Court may deem just and proper

under the circumstances.
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 34 of 141




             PLAINTIFF’S CERTIFICATION AND WARNINGS

      By signing below, I certify to the best of my knowledge, information, and

belief that: (1) the complaint is not being presented for an improper purpose (such

as to harass, cause unnecessary delay, or needlessly increase the cost of litigation);

(2) the claims are supported by existing law or by a nonfrivolous argument to

change existing law; (3) the factual contentions have evidentiary support or, if

specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise

complies with the requirements of Federal Rule of Civil Procedure 11.

      I agree to notify the Clerk's Office in writing of any changes to my mailing

address. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

      Respectfully submitted this 18th day of December 2021.


      /S/ AARON ABADI
      Aaron Abadi, plaintiff
      Apt. 140
      82 Nassau St.
      New York, NY 10038
      Telephone: 516-639-4100
      E-Mail: aa@neg.com

I have read the Pro Se (Nonprisoner) Consent to Receive Documents
Electronically:    X Yes ____NO
     Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 35 of 141




DEFENDANTS’ ADDRESSES

British Airways PLC
New York office
11 West 42nd Street, 24th Floor
New York, NY 10036.
312-843-5794

Their registered agent for process service in New York State:
CT Corporation System,
28 Liberty Street, New York, NY 10005

Matthew Roberts
Airport Manager for British Airways PLC
P.O. Box # 17286, Washington, DC 20041
703-572-2455

Physical Office Address:
Washington Dulles Airport
British Airways Office
1 Saarinen Cir, Dulles, VA 20166

Wendy Gomez
British Airways
Terminal 8
JFK international Airport
Jamaica, NY 11430
312-843-5794
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             Department of State
                Division of Corporations
                           Entity Information

ENTITY NAME:BRITISH AIRWAYS PLC
DOS ID:60870
FOREIGN LEGAL NAME:
FICTITIOUS NAME:
ENTITY TYPE:FOREIGN BUSINESS CORPORATION
DURATION DATE/LATEST DATE OF DISSOLUTION:
SECTIONOF LAW: -
ENTITY STATUS:Active
DATE OF INITIAL DOS FILING:12/03/1946
REASON FOR STATUS:
EFFECTIVE DATE INITIAL FILING:12/03/1946
INACTIVE DATE:
FOREIGN FORMATION DATE:08/04/1939
STATEMENT STATUS:CURRENT
COUNTY:New York
NEXT STATEMENT DUE DATE:12/31/2022
JURISDICTION:United Kingdom
NFP CATEGORY:
1/21/2021          Case 1:21-cv-10825-PGG-SN NYU Langone Health
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                                                          2 Filed       - Letters Page 40 of 141


                        Name: Aaron Abadi |                       | MRN: 9141633 | PCP: Yelena Karasina, MD


                                                                                         EXHIBIT 2
    Letter Details



    Yelena Karasina, MD
    NYU LANGONE AMBULATORY CARE WEST SIDE
    355 WEST 52ND ST
    NEW YORK NY 10019-6239
    Phone: 646-754-2100
    Fax: 646-754-2148


    December 3, 2020


     Patient:       Mr. Aaron Abadi
     Date of Birth:
     Date of Visit: 12/3/2020



    To Whom it May Concern:



    Mr. Aaron Abadi is suffering from extreme sensitivity to touch,mostly in the area of his
    head.For this reason he is unable to wear face mask or face shield,and should not be
    required to do so.
    He has already recovered from COVID,and is not contagious.



    Sincerely,



    Yelena Karasina, MD




    This letter was initially viewed by Aaron Abadi at 12/7/2020 9:41 AM.



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https://mychart.nyulmc.org/mychart/inside.asp?mode=letters&id=1                                               1/1
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                                                                       EXHIBIT 3
                                                                                                    ~
                                                                                                   \ NYU Langone
AFTER VISIT SUMMARY                                                                                 '--Health
Aaron Abadi        Do                 ~ 5/6/2021 3:30 PM   9 Preston Robert Tisch Center for Men's Health 646-754-2000


Inst ru ctio ns         from Ian Lustbader, MD
        Today's medication changes
        C) START taking:

        Accurate as of May 6, 2021 9:17 PM.
        Review your updated medication list below.


        Pick up these medications at CVS/pharmacy #2716 Cor of Nassau 129 Fulton St, New York, NY
~       10038-2716 212-233-5021 212-233-7153
00

        ..' . . ..        payment per fill: $0
        Address:           129 Fulton St, New York NY 10038-2716
        Phone:             212-233-5021


        Labs ordered today
        URINALYSIS (NO CULTURE) WITH REFLEX TO MICROSCOPY
        Please complete by 5/6/2021


        Return in about 6 months
        (around 11 / 6/2021) for repeat labs, review meds, renew meds, follow up symptoms.




Today's Visit




Aaron Abadi (MRN: 9141633) (CSN: 828823283) • Printed by [LUSTB101] at 5/ 6/ 21 9:17 PM             Page 1 of5 ~
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         You saw Ian Lustbader, MD on Thursday May 6, 2021 for:




The following issues were addressed:




• Sensory integration disorder




~ Done Today




~ Immunizations Given



What's Next
 JUL    New Patient Appointment with John G Zampella, MD                        Preston Robert Tisch Center for Men's
 28     Wednesday July 28 1:30 PM                                               Health
 2021   Please arrive 15 minutes prior to your appointment time.                555 Madison Ave
                                                                                New York NY 10022-3301
        Bring your insurance card and photo identification.                     646-754-2000
        Bring your MD referral/pre-certification (if applicable).
        Bring a copy of your med ical records, recent test results (including
        labs, X-ray, CT, etc,) that relate to the reason for your visit.
        Bring the name and phone number of your primary and referring MD.
        Be prepared to pay any co-payments or patient responsible balances
        at the time of your appointment.




Aaron Abadi (MRN: 9141633) (CSN: 828823283) • Printed by [LUSTBI01] at 5/6/21 9:17 PM                 Page2of5 ~
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 SEP     Physical with Yelena Karasina, MD                                         NYU Langone Ambulatory Care West
  1      Wednesday September 1 11:00 AM                                            Side
 2021    Arrive 15 minutes prior to appointment.                                   355 West 52nd St
                                                                                   New York NY 10019-6239
                                                                                   646-754-2100
 OCT     Follow Up Appointment with Ian Lustbader, MD                              Preston Robert Tisch Center for Men's
 27      Wednesday October 27 4:30 PM                                              Health
 2021    Arrive 15 minutes prior to appointment.                                   555 Madison Ave
                                                                                   New York NY 10022-3301
                                                                                   646-754-2000



 NYU Langone Health App & MyChart
        • Download the NYU Langone Health app on the App Store or Google Play to stay connected to your care
          anytime and anywhere.
        • Sign in with your NYU Langone Health MyChart account username and password.
        • You can schedule appointments, view test results, request prescription refills, send secure messages to your
          providers, have a virtual urgent care visit, and more.




Aaron Abadi (MRN: 9141633) (CSN: 828823283) • Printed by [LUSTBI01] at 5/6/21 9:17 PM                    Page 3 of 5
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Your Medication List                 asofMay6,2021 9:17PM

  Cl) For your privacy, any medications your clinician marked as private are not included in this list. This message
  appears even if the list is complete. If you have any questions about a medication you don't see here, contact your
  doctor. Always use your most recent med list.




         -
 START




         -
         --
         --
Access to Clinical Notes and Test Results
At NYU Langone Health, we believe that sharing information supports patients taking an active role in their health. In
support of this, clinical notes and test results are made available to patients in MyChart and the NYU Langone Health App,
as soon as they are available. This is in accordance with the 21st Century Cures Act, which is intended to give patients and
their healthcare providers secure access to health information. (www.healthit.gov/curesrule)

This means that a patient may see test results before their health care provider does. If you do access your test results
right away, please keep in mind that some results may be hard to interpret without guidance from a health care
professional. All results will be reviewed by members of your care team. They will continue to follow-up with you as they
have done in the past.



Allergies as of 5/6/2021
No Known Allergies


If you feel that any of the information in this summary is inaccurate, please talk with your healthcare provider.




Aaron Abadi (MRN: 9141633) (CSN: 828823283) • Printed by [LUSTBI01] at 5/6/ 21 9:17 PM                   Page 4 of 5 Epic:
              Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 45 of 141



Information About Medication Safety
It is important to keep an updated record of the medications you are taking, and to bring this updated list of medications
every time you visit your Health Care Provider and when you come to the hospital. We want to help you in managing your
medications safely after your visit or discharge. This includes the potential side effects of your medications. If you have
any questions regarding the medications you are taking, please speak to your Health Care Provider or Pharmacist.


Have questions about your bills?
Our physician and hospital customer service representatives are available to answer any billing questions: https://
nyulangone.org/insurance-billing-financial-assistance
               Physician Billing: 1 - 877 - 648 - 2964
               Hospital Billing: 1 - 800 - 237 - 6977


Finding a Physician Within NYU Langone Health
As one of the nation’s premier academic medical centers, NYU Langone Health is devoted to excellence in patient care,
education, and research. We are proud that our care team includes leading specialists for every condition.

Should you need assistance finding a physician or service, please visit us on our website at https://nyulangone.org/
doctors.

To reach us by phone:
NYU Langone Physician Referral Services – (855) 314-2978
NYU Langone Orthopedic Hospital – (888) 453-3627
Family Health Centers at NYU Langone – (718) 630-7942

        Additional resources include:

        National Suicide Prevention Hotline – (800) 273-8255
        NYC Suicide Hotline – (888) 692-9355




Aaron Abadi (MRN: 9141633) (CSN: 828823283) • Printed by [LUSTBI01] at 5/6/21 9:17 PM                    Page 5 of 5
11/16/21, 7:11 PM                           The ADA
                    Case 1:21-cv-10825-PGG-SN       and Face Mask
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                                                                                      EXHIBIT 4



                       Information, Guidance and Training on the Americans with Disabilities Act




         Home » Disability Issues » The ADA and Face Mask Policies



                The ADA and Face Mask Policies

                Updated: 8/27/2021


                Contents

                     Introduction
                     May a federal, state or local government agency or a business require
                     customers to wear a face mask?
                         Note: CDC Guidance
                         Updates (8/27/2021)
                         Court Cases: ADA and Face Masks
                     Is there a reason a person might not be able to wear a face mask?
                         Examples of a person with a disability who might not be able to wear a
                         face mask
                     If a person with a disability is unable to wear a face mask, do I still have to
                     allow them in my business or government agency?
                     Are there any situations when an agency or business does not have to
                     provide a reasonable modification to the face mask policy?
                          Fundamental Alteration
                       Undue Burden
                       Direct Threat
                     How should I respond to a request for a reasonable modification to the face
                     mask policy?
                       Best Practice Tip
                     Summary & Resources
                       Citation
                          Endnotes
                                                                                                       English   
                          Disclaimer
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                               1/23
11/16/21, 7:11 PM                           The ADA
                    Case 1:21-cv-10825-PGG-SN       and Face Mask
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                Introduction


                The COVID-19 pandemic has changed our world in many ways. People with
                disabilities, people with chronic health conditions such as heart disease, lung disease,
                and diabetes, and people over the age 60, are at a higher risk of becoming infected
                and more likely to become seriously ill. Safety measures such as social distancing,
                vaccines, respiratory etiquette, and the wearing of face masks or cloth face coverings
                are our first line of defense to keep people safe from severe illness. [44]

                Note: In this document, the term “face mask” will be used for both face masks and
                cloth face coverings.




                Wearing a face mask is one important way to slow the spread of COVID-19. [45]

                On July 27, 2021, the Centers for Disease Control and Prevention (CDC) updated its
                guidance on face masks. The CDC recommends that face masks be worn by
                everyone, regardless of vaccination status, in areas of substantial and high
                transmission. Wearing a face mask increases protection from the Delta variant and
                lessens the chance of spreading it to others.[1][43] The CDC considers substantial
                transmission to be 50 to 100 new cases per 100,000 people over a seven-day period.
                High transmission is 100 or more cases per 100,000 people over seven days or in
                areas with 8% or higher positive test rates.[32]


                Additionally, the CDC urges that fully vaccinated people who have compromised
                immune systems continue to wear a face mask. The number of federal, state and
                U.S. territories with face mask mandates changes in response to current outbreak
                conditions.[33]


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https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                           2/23
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                    Case 1:21-cv-10825-PGG-SN       and Face Mask
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                Wearing a face mask may be difficult for some people with a disability. State and
                local government agencies or private businesses that want customers to use a face
                mask may have questions and concerns. This fact sheet offers guidance to questions
                about the issue of face mask policies, reasons why a person with a disability might
                not be able to wear a face mask, and the legal rights a person has under the
                Americans with Disabilities Act (ADA).

                May a federal, state or local government agency or a business require customers
                to wear a face mask?

                NOTE: CDC Guidance

                The information from the Centers for Disease Control and Prevention (CDC) and other
                authorities has changed as the COVID-19 pandemic evolves and new variants
                emerge. Therefore, private businesses and government agencies should follow the
                most current information on maintaining safety by reviewing the CDC Coronavirus
                (COVID-19) information (cdc.gov).


                You can also access more information at:
                • Accessible COVID-19 Resources from CDC guidance
                Source: Center for Inclusive Design and Innovation (CIDI)
                • Older Adults and People with Disabilities: COVID-19 Resources
                Source: Administration for Community Living (ACL)


                UPDATES
                August 27, 2021 – State Mask Mandates


                The number of federal, state and U.S. territories with face mask mandates changes in
                response to current outbreak conditions. As of August 27, 2021, ten states (California,
                Connecticut, Hawaii, Illinois, Louisiana, Nevada, New Mexico, New York, Oregon and
                Washington), the District of Columbia, and the territory of Puerto Rico have mask
                mandates in place. Also, on August 27, Oregon became the first state to reimpose a
                face-covering requirement for people in outdoor public settings, and Illinois’ indoor
                mask order is being expanded to cover vaccinated people, effective August 30.[33]


                August 20, 2021 – Face Masks, Travel and Transportation


                The Centers for Disease Control and Prevention (CDC), Transportation Security
                Administration (TSA), and the U.S. Department of Transportation (DOT) remind
                people who chose to travel that they are still required to wear a face mask on planes,
                                                                                                  English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                          3/23
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                    Case 1:21-cv-10825-PGG-SN       and Face Mask
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                buses, trains, and other forms of public transportation traveling into, within, or outside
                of the United States. This includes all U.S. transportation hubs such as airports and
                stations for trains and buses. CDC guidance states that fully vaccinated people are
                safe to travel and can resume travel within the United States.[46] However, travel
                outside the United States poses additional risks. Fully vaccinated travelers might be
                at increased risk for getting and possibly spreading some COVID-19 variants.[47]


                On Friday, August 20, 2021, the Transportation Security Administration (TSA) is
                extending the face mask requirement for individuals across all transportation
                networks throughout the United States, through January 18, 2022. The transportation
                network includes airports, onboard commercial aircraft, on over-the-road buses, and
                on commuter bus and rail systems.[48]

                July 27, 2021 – Centers for Disease Control (CDC)
                Interim Public Health Recommendations for Fully Vaccinated People

                On July 27, 2021, the Centers for Disease Control and Prevention (CDC) updated its
                guidance on face masks for fully vaccinated people. The CDC recommends that face
                masks be worn by everyone, regardless of vaccination status.[1] The guidance
                specifically states that a fully vaccinated person should “wear a mask indoors in
                public if you are in an area of substantial or high transmission.”[32]


                CDC continues to urge people with compromised immune systems and people who
                live in households with people who have compromised immune systems to wear
                masks. The CDC recommends that fully vaccinated people who have a known
                exposure to someone with suspected or confirmed COVID-19 infection be tested 3-5
                days after exposure and to wear face masks in indoor public settings for 14 days or
                until they receive a negative test result.Finally, the CDC recommends that all teachers,
                staff, students, and school visitors wear masks in school settings, regardless of
                vaccination status.[42]


                July 19, 2021 – American Academy of Pediatrics (AAP)
                COVID-19 Guidance for Safe Schools


                On July 19, 2021, the American Academy of Pediatrics (AAP), the leading pediatrics
                organization in the United States, issued a face mask recommendation for schools
                that are re-opening this fall. The AAP advises that all staff and students over the age
                of 2 wear face masks when at school unless prohibited by a medical or
                developmental condition. The AAP guidance also strongly encourages all eligible
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https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                            4/23
11/16/21, 7:11 PM                              The ADA
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                individuals to receive the COVID-19 vaccine. Schools are urged to provide available
                and accessible vaccine resources for the whole community.

                AAP endorsed the guidance from the Centers for Disease Control (CDC) that schools
                carry out multiple prevention strategies including social distancing, face masks,
                handwashing, quarantining, cleaning, disinfections, screening testing, building
                ventilation, and respiratory etiquette. These things help limit the transmission of
                respiratory pathogens that are airborne or spread by droplets.[39]

                Respiratory Etiquette


                       Covering your mouth and nose when coughing or sneezing.
                       Using tissues and throwing them away.
                       Washing your hands or using hand sanitizer every time you touch your mouth
                       or nose.
                       Providing tissues and no-touch trash cans to throw them away
                       Offering disposable face masks to customers and employees

                The AAP, citing guidance from the World Health Organization (WHO), the United
                Nations Children’s Fund (UNICEF), and the CDC, urges schools to be opened this fall.
                They state that there is no evidence of significantly increased community
                transmission by opening schools. The AAP also believes that “remote learning
                exposed inequities in education, was detrimental to the educational attainment of all
                students, and exacerbated a mental health crisis among children and adolescents”.
                [40]



                July 9, 2021 – Centers for Disease Control and Prevention (CDC)
                Guidance for COVID-19 Prevention in K-12 Schools


                On July 9, 2021, the Centers for Disease Control and Prevention (CDC) provided
                guidance that individuals who are not fully vaccinated (age 2 and older) should
                continue to wear face masks indoors and in crowded settings when physical
                distancing cannot be maintained. It is recommended that schools maintain 3 feet of
                physical distancing in classrooms. Schools should also carry out multiple strategies
                to prevent the spread of COVID-19. These strategies include: social distancing, face
                masks, handwashing, screening testing, ventilation, and respiratory etiquette. The
                CDC emphasized the importance of in-person instruction even when a school cannot
                implement all prevention strategies.[38]


                June 10, 2021 – Face Masks, Travel and Transportation – Outdoor Areas                 English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                              5/23
11/16/21, 7:11 PM                           The ADA
                    Case 1:21-cv-10825-PGG-SN       and Face Mask
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                The Centers for Disease Control and Prevention (CDC) issued guidance that face
                masks are no longer required in outdoor areas where transportation is provided or at
                transportation hubs. Transportation includes: airplanes, trains, school buses,
                subways, buses, taxis, ride-shares, trolleys, cable cars, and ships and boats.
                 Transportation hub is any location where people await, board, or disembark from
                public transportation. In these cases, private vehicles are not considered
                transportation.


                If transportation sites or transportation hubs have outdoor areas (such as on a ferry
                or an open-air trolley or bus), wearing a face mask is not required while
                outdoors unless otherwise required by the operator, federal, State, tribal, territorial, or
                local government. However, the CDC continues to recommend wearing of face masks
                in these areas by people who are not fully vaccinated to protect themselves and
                others.[37]




                February 1, 2021 – Face Masks, Travel and Transportation


                A federal order took effect requiring travelers to wear face masks. According to the
                order from the Centers for Disease Control and Prevention (CDC), face masks must
                be worn by passengers on trains, buses, trains and subways, airplanes, ships, taxis
                and ride-share services as well as any other mode of transportation. The order also
                requires face masks at all transportation hubs including airports, bus terminals,
                seaports, train stations, and U.S. ports of entry.[30] This guidance follows President
                Biden’s executive order requiring face masks to be worn on all federal properties. [31]


                March 11, 2020: Centers for Disease Control and Prevention (CDC)
                Face Mask Recommendation


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                The World Health Organization (WHO) declared COVID-19 as a pandemic.[2] The
                Centers for Disease Control and Prevention (CDC) noted that studies have shown that
                many people who do not have symptoms of COVID-19 can spread the virus to other
                people. Because it takes four to fourteen days for someone to show symptoms, they
                also may infect others without knowing it.[3] This means that the virus can be shared
                between people who are close to each other. For example, people who are speaking,
                coughing, or sneezing may spread the virus even if they do not have symptoms.
                [4] Therefore, the CDC recommends that people over age two wear a face mask in

                public or where it can be hard to stay six feet apart from others.[5]


                Court Cases: ADA and Face Masks
                Resurrection School v. Hertel


                In a ruling handed down on August 23, 2021, the Sixth Circuit Court of Appeals,
                upheld a district court ruling that refused to block a mask mandate put in place by the
                Michigan Department of Health and Human Services. Resurrection Catholic
                Elementary School sued Elizabeth Hertel, the Director of the Michigan Department of
                Health and Human Services, claiming the face mask mandate was a violation of their
                rights to free exercise of religion, equal protection, and due process, because face
                masks hide faces “made in God’s image and likeness.” Although the mask mandate in
                Michigan was lifted before this decision, the Sixth Circuit’s decision is important in the
                event a new mask mandate is imposed. The court relied on a rational basis test,
                saying the state has a legitimate interest to keep the public safe and that the
                mandate applied to all elementary schools and did not single out religious education
                institutions.[49]

                Pletcher v. Giant Eagle Inc.


                In another case decided on October 23, 2020, in the Federal District Court for the
                Western District of Pennsylvania, the Court denied a preliminary injunction in the case
                of Pletcher v. Giant Eagle Inc. If granted, the injunction would have required Giant
                Eagle Inc. to change its policy of requiring all customers to wear a face mask or other
                face covering inside their store. In this case, sixty-nine plaintiffs filed a class action
                suit claiming Giant Eagle Groceries were in violation of Title III of the ADA by denying
                access to customers who claimed they could not wear a face mask due to their
                disabilities. In the ruling, U.S. District Judge Nora Barry Fischer determined that the
                store’s face mask policy was a correct interpretation of the Pennsylvania Department
                of Health’s order that face masks are to be worn in public spaces and that those who
                cannot wear a face mask may instead wear a face shield. Giant Eagle noted in their
                                                                                                    English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                            7/23
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                defense that they had in place other modifications to policy and practice consistent
                with ADA Title III to accommodate customers with disabilities.[29]

                Bunn v. Nike, Inc.


                In July 2020, Bunn v. Nike Inc., San Francisco Superior Court, resulted in a class
                action settlement for customers who are deaf or hard of hearing. The suit claimed
                that Nike’s policy requiring all retail employees to wear face masks violated the ADA.
                In the settlement, Nike agreed to make the following changes to address the issues
                for customers who are deaf or hard of hearing: (1) reasonable modifications to policy,
                practice, and procedure by requiring employees to wear transparent face masks to
                provide effective communication; (2) providing guidance to employees about
                accommodating customers; and (3) posting signs at store entrances notifying
                customers they can request additional assistance.[41]

                Is there a reason a person might not be able to wear a face mask?


                The Centers for Disease Control and Prevention (CDC) states that a person who has
                trouble breathing, is unconscious, incapacitated, or otherwise unable to remove the
                face mask without assistance should not wear a face mask or cloth face covering.[6]


                Examples of a person with a disability who might not be able to wear a face mask

                     Individuals with asthma, chronic obstructive pulmonary disease (COPD), or
                     other respiratory disabilities may not be able to wear a face mask because of
                     difficult or impaired breathing. People with respiratory disabilities should
                     consult their own medical professional for advice about using face masks. The
                     Centers for Disease Control and Prevention (CDC) also states that anyone who
                     has trouble breathing should not wear a face mask.[7]




                     People with post-traumatic stress disorder (PTSD), claustrophobia (an
                     abnormal fear of being in enclosed or narrow places), severe anxiety[8] may
                     feel afraid or terrified when wearing a face mask. These individuals may not be
                     able to stay calm or function when wearing a face mask.
                                                                                                     English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                             8/23
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                     Some people with autism are sensitive to touch and texture.[9] Covering the
                     nose and mouth with fabric can cause sensory overload, feelings of panic, and
                     extreme anxiety.
                     A person who has cerebral palsy may have difficulty moving the small muscles
                     in the hands, wrists, or fingers. Due to their limited mobility, they may not be
                     able to tie the strings or put the elastic loops of a face mask over the ears.
                     This means that the person may not be able to put on or remove a face mask
                     without assistance.
                     A person who uses mouth control devices such as a sip and puff to operate a
                     wheelchair or assistive technology or uses their mouth or tongue to use
                     assistive ventilators may be unable to wear a face mask.


                If a person with a disability is unable to wear a face mask, do I still have to allow
                them in my business or government agency?


                The number of federal, state and U.S. territories with face mask mandates changes in
                response to current outbreak conditions.[33] As of July 20, 2021, eight states
                (California, Connecticut, Hawaii, Illinois, Nevada, New Mexico, New York, and
                Washington), the District of Columbia, and the territory of Puerto Rico have mask
                mandates in place.


                These mandates vary by state. For the most part, the mandates require face masks
                to be worn by people who are unvaccinated and not fully vaccinated inside public
                spaces, public transportation, workplaces, congregate settings and any situation that
                where six feet of social separation cannot occur. These mandates also include
                exemptions for children, people with disabilities or medical conditions, and situations
                where face masks interfere with effective communication.[26] These state mandates
                do not override the consideration of reasonable modifications to policy, practice, and
                procedure required by the Americans with Disabilities Act (ADA). Many private
                businesses have also developed policies requiring the use of face masks. The ADA
                does not have any rules that address the required use of face masks by state and




                local governments or private business owners.


                                                                                                    English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                            9/23
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                If a person with a disability is not able to wear a face mask, state and local
                government agencies and private businesses must consider reasonable
                modifications to a face mask policy so that the person with the disability can
                participate in, or benefit from, the programs offered or goods and services that are
                provided. A reasonable modification means changing policies, practices, and
                procedures, if needed, to provide goods, services, facilities, privileges, advantages, or
                accommodations to an individual with a disability.[10] It is important to focus on how
                to provide goods or services to a customer with a disability in an equal manner. This
                can be done by reasonably modifying your policies, practices, or procedures.



                The requirement to modify a policy, practice, or procedure does not include
                individuals without disabilities, as they are not protected under the Americans with
                Disabilities Act (ADA).


                Examples of reasonable modifications to a face mask policy


                     Allow a person to wear a scarf, loose face covering, or full face shield instead




                     of a face mask.
                     Allow customers to order online with curbside pick-up or no contact delivery in
                     a timely manner.
                     Allow customers to order by phone with curb-side pick-up or no contact
                     delivery in a timely manner.
                     Allow a person to wait in a car for an appointment and enter the building when
                     called or texted.
                     Offer appointments by telephone or video calls.

                Are there any situations when an agency or business does not have to provide a
                reasonable modification to the face mask policy?


                There are three reasons under the Americans with Disabilities Act (ADA) that a state
                or local government agency or private business may not have to provide a reasonable
                modification.

                                                                                                    English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                        10/23
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                Fundamental Alteration


                A state or local government agency or private business may not have to provide a
                reasonable modification if the modification would change the nature of the service,
                program, activity, goods, services, or facilities.[11][12]

                A fundamental alteration is a change to such a degree that the original program,
                service, or activity is no longer the same.[13]


                     Example of a fundamental alternation: A customer requests that a store
                     deliver her items to her home as a reasonable modification so that she does
                     not have to enter the store. The store does not offer a home delivery.
                     Therefore, the store would not have to grant the request for home delivery
                     since it would be a fundamental alteration of their services.


                Undue Burden

                A state and local government agency or private business is not required to take any
                action that it can demonstrate would result in an undue financial or administrative
                burden. An undue burden is a significant difficulty or expense.[14][15]

                     Example of an undue burden: A person would like to visit city library when no
                     other customers are present. He requests that staff allow him in 30 minutes
                     before the building opens. This might be an undue burden for the library due to
                     limited staffing.


                The requirements for showing an undue financial or administrative burden are
                different for a state or local government agency and a private business.


                State or Local Government Agency and Undue Burden


                The head of a state or local government agency or his/her designee are the only ones
                who can make the decision as to whether a reasonable modification is an undue
                burden. The decision-maker must provide information in writing with the reasons why
                the modification is an undue burden.


                In determining whether financial and administrative burdens are excessive, all
                financial resources used to fund the programs, services, or activities of the public
                entity must be considered. If an action would result in an undue burden, the state or
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                local government agency must look for other ways to ensure that individuals with
                disabilities receive the benefits and services of the program or activity.[27]

                Private Business and Undue Burden


                A private business must consider the following things to determine if an action or
                reasonable modification would result in an undue burden.


                 1. The nature and cost of the reasonable modification.
                 2. The overall financial resources of the business making the reasonable
                    modifications; the number of people employed at the business; the effect on
                     expenses and resources of the business; legitimate safety requirements that
                     are necessary for safe operation, including crime prevention measures; or the
                    impact otherwise of the action upon the operation of the site.
                 3. For businesses with multiple sites, consideration is given to the degree of
                    geographic separateness and the administrative or financial relationship of the
                    sites that will make the modification more difficult or expensive.
                 4. If applicable, the overall financial resources, size, number of employees, and
                    type and location of facilities of the parent corporation or entity (if the
                    business involved in the reasonable modification is part of a larger business).
                 5. If applicable, an assessment is made of the parent corporation or entity’s type
                     of operation, including the structure and functions of the workforce.[28]


                Direct Threat


                A state or local government agency or private business may not have to provide a
                reasonable modification to the face mask policy if the individual with a disability
                poses a direct threat to the health or safety of others.


                A direct threat is a significant risk to the health or safety of others that cannot be
                eliminated by a modification of policies, practices, or procedures, or by the provision
                of auxiliary aids or services.[16][17] The determination that a person poses a direct
                threat to the health or safety of others may not be based on generalizations or
                stereotypes about the effects of a particular disability. It must be based on an
                individual assessment that considers the particular activity and the actual abilities




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                and disabilities of the individual.[18][19]




                During a pandemic, state and local government agencies and businesses should use
                the most up to date information from the Centers for Disease Control and Prevention
                (CDC), the U.S. Department of Labor (DOL) Occupational Safety and Health
                Administration (OSHA), and the state public health agencies. Because the pandemic
                threat to health and safety will vary by region, you should consult your local public
                health agency for guidance.[20]


                To limit a direct threat from the COVID-19 pandemic, a state or local government
                agency or private business may impose legitimate safety requirements necessary for
                safe operation. However, these groups must ensure that their safety requirements are
                based on real, specific risks, not on speculation, stereotypes, or generalizations about
                individuals with disabilities.[21][22] These safety requirements must be consistent with
                the ADA regulations about direct threat and legitimate safety requirements, and
                consistent with advice from the CDC and public health authorities.

                To limit a direct threat and have safety requirements in place to address the COVID-
                19 pandemic, state and local government agencies and businesses may:


                     Develop policies and procedures for prompt identification and isolation of
                     people with symptoms of COVID-19, including employees and customers.
                     Offer face masks to employees and customers.
                     Enforce social distancing guidelines.
                     Inform customers about symptoms of COVID-19 and ask sick customers to
                     minimize contact with workers and other customers until they are healthy
                     again.
                     Post signs with COVID-19 information in places that sick customers may visit
                     (e.g., pharmacies, hospitals, public health agencies, grocery stores).
                     Include COVID-19 information in automated messages sent when messages
                     are sent to customers via phone messages, text, or email; and/or
                     Limit customers in-person access by customers to the buildings operated by a
                     state or local government agency or private business, as appropriate.
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                How should I respond to a request for a reasonable modification to the face mask
                policy?

                The U.S. Department of Justice (DOJ) issued two settlement agreements that provide
                guidance on the reasonable modification decision-making process.[23][24]

                 1. A state or government agency should designate at least one person, and a
                    back-up, who are authorized to receive and review requests for reasonable
                     modifications. The decision-maker for a state or local government agency is
                     the head of the public agency or their designee.[25] Although not required,
                     private businesses are encouraged to designate a person to receive and review
                    requests for reasonable modifications and make decisions.
                 2. After receiving a request for a reasonable modification, talk with the individual
                    with a disability to learn why the person needs to modify the face mask policy
                    and to find a solution that meets ADA requirements. Decisions about
                    reasonable modifications should be made in a timely manner.
                 3. After the discussion, the government agency or private business may:
                     1. Agree to the request. In most cases, because the interaction is brief,
                        businesses such as department stores, grocery stores, and pharmacies
                        or government agencies such as the courthouse or drivers’ services,
                        will be able to agree to the request. Generally, state and local
                        governments may not ask for documentation of disability as the
                        interactions are brief and in doing so would amount to unequal
                        treatment of people with disabilities.
                     2. Deny the request. If a request for modifications is denied, a state or
                        local government agency or private business is encouraged to provide a
                        written statement as to why the request was denied, provide a copy to
                        the person with a disability, and keep a copy on file.
                      3. In some unique circumstances where the interaction is not brief (e.g., a
                         college or university that offers students extended residency in
                          dormitories), the school may ask students with non-obvious disabilities
                          for medical documentation about the person’s disability that is narrowly
                          tailored and is absolutely necessary to:
                           1. Verify that the individual meets the ADA definition of disability
                               (i.e., has a physical or mental impairment that substantially limits
                               one or more major life activities); or
                           2. Describe the needed modification; or
                           3. Show the relationship between the individual’s disability and the
                               need for the requested modification.
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                Medical Documentation

                The U.S. Department of Justice (DOJ) nor other federal agencies with enforcement
                authority have not provided specific guidance about whether a store can or cannot
                ask for medical documentation about a person’s inability to wear a face mask due to
                a disability. Generally, guidance from the U.S. Department of Justice has not allowed
                asking for documentation for accommodations at businesses where interactions are
                brief, such as grocery stores or pharmacies. Some places such as medical offices or
                hospitals may need the medical documentation because a person who is not wearing
                a face mask may infect other people who are sick.


                Best Practice Tip


                Prepare a list of possible alternatives to a face mask/cloth face covering policy that
                you can share with people with disabilities who request a reasonable modification to
                your policy. See: Examples of reasonable modifications to a face mask policy for
                examples of policy modifications.

                Summary


                As the COVID-19 pandemic continues, state and local government agencies and
                private businesses must make reasonable modifications to allow people with
                disabilities to access the goods and services they offer. Following ADA requirements
                for reasonable modifications within federal, state, and local health and safety
                guidelines will allow you to keep employees and customers safe, reduce new
                infections, and still provide goods and services to everyone.


                Resources


                For more about your rights under the Americans with Disabilities Act (ADA) and how
                they apply to the coronavirus (COVID-19) pandemic: ADA, Disability & COVID-19
                Resources (adacovid19.org)


                For additional information on face coverings and the ADA:


                     Fact Sheet: Healthcare & Face Coverings: Reducing Communication Barriers
                     for Deaf and Hard of Hearing Patients
                     Source: ADA National Network, Northwest ADA Center (adata.org)
                     Fact Sheet: Face Coverings and Businesses: Balancing the ADA with Public
                     Health During COVID-19                                                        English   
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                     Source: Northwest ADA Center (nwadacenter.org)
                     FAQs: The ADA, Small Business and Face Masks
                     Source: Great Plains ADA Center (gpadacenter.org)
                     ADA Today Podcast: COVID-19, Face Mask Policies and ADA Title II and III
                     Source: Mid-Atlantic ADA Center (adainfo.org)
                     Webinar Archive: Face Coverings and the ADA – Application of ADA Title III
                     Source: ADA Audio Webinar Series: Great Lakes ADA Center
                     (accessibilityonline.org)


                ADA National Network


                For questions and training on the Americans with Disabilities Act (ADA),
                contact your regional ADA center at 1-800-949-4232
                or visit the national website: adata.org
                — All calls are confidential. We do not give medical or legal advice. [Refer
                to: Disclaimer]


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                These materials do not constitute legal advice and should not be relied upon in any
                individual case. Please consult an attorney licensed in your state for legal advice
                and/or representation. These materials were prepared by the legal research staff of
                the Burton Blatt Institute (BBI) at Syracuse University in partnership with the
                Southeast ADA Center to highlight legal and policy developments relevant to civil
                rights protections and the impact of court decisions in the Southeast Region under
                the Americans with Disabilities Act (ADA). These materials are based on federal
                disability rights laws and court decisions in effect at the time of publication. Federal
                and state disability rights law can change at any time. In addition, state and local
                laws and regulations may provide different or additional protections. Materials are
                intended solely as informal guidance, and are neither a determination of your legal
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                of any information contained herein is not warranted. Any links to external websites
                are provided as a courtesy and are not intended to nor do they constitute an
                endorsement of the linked materials.




                                                                                                   English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                       22/23
11/16/21, 7:11 PM                           The ADA
                    Case 1:21-cv-10825-PGG-SN       and Face Mask
                                                 Document     2 Policies
                                                                  Filed>12/16/21
                                                                         Southeast ADAPage
                                                                                      Center 68 of 141

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                                                    Period WordPress Theme by Compete Themes.




                                                                                                   English   
https://adasoutheast.org/disability-issues/ada-and-face-mask-policies/                                       23/23
8/19/2021                                                                      Reinfection with
                                                    Case 1:21-cv-10825-PGG-SN Document      2 COVID-19 | CDC
                                                                                                Filed 12/16/21 Page 69 of 141




                                                                                                                EXHIBIT 5



        To maximize protection from the Delta variant and prevent possibly spreading it to others, wear a mask indoors in public

        COVID-19
        if you are in an area of substantial or high transmission.




     Reinfection with COVID-19
     Updated Aug. 6, 2021                     Print




         Cases of reinfection with COVID-19 have been reported, but remain rare​.​


     In general, reinfection means a person was infected (got sick) once, recovered, and then later became infected again. Based
     on what we know from similar viruses, some reinfections are expected. We are still learning more about COVID-19. Ongoing
     COVID-19 studies will help us understand:


         •    How likely is reinfection
         •    How often reinfection occurs

         •    How soon after the first infection can reinfection take place

         •    How severe are cases of reinfection

         •    Who might be at higher risk for reinfection

         •    What reinfection means for a person’s immunity

         •    If a person is able to spread COVID-19 to other people when reinfected




            Delta Variant
            The Delta variant causes more infections and spreads faster than earlier forms of the virus that causes COVID-19. It
            might cause more severe illness than previous strains in unvaccinated people.


              •   Vaccines continue to reduce a person’s risk of contracting the virus that cause COVID-19, including this variant.

              •   Vaccines continue to be highly effective at preventing hospitalization and death, including against this variant.

              •   Fully vaccinated people with breakthrough infections from this variant appear to be infectious for a shorter period.

              •   Get vaccinated and wear masks indoors in public spaces to reduce the spread of this variant.


             About the Delta Variant                        Variants in the US




     What CDC is doing
     CDC is actively working to learn more about reinfection to inform public health action. CDC developed recommendations for
     public health professionals to help decide when and how to test someone for suspected reinfection. CDC has also provided
     information for state and local health departments to help investigate suspected cases of reinfection. We will update this
     guidance as we learn more about reinfection.

https://www.cdc.gov/coronavirus/2019-ncov/your-health/reinfection.html                                                                   1/2
8/19/2021                                                                      Reinfection with
                                                    Case 1:21-cv-10825-PGG-SN Document      2 COVID-19 | CDC
                                                                                                Filed 12/16/21 Page 70 of 141




         Important Ways to Slow the Spread of COVID-19
             •   Get a COVID-19 vaccine as soon as you can. Find a vaccine.

             •   Wear a mask that covers your nose and mouth to help protect yourself and others.

             •   Stay 6 feet apart from others who don’t live with you.
             •   Avoid crowds and poorly ventilated indoor spaces.

             •   Wash your hands often with soap and water. Use hand sanitizer if soap and water aren’t available.



         More Information

         How to Protect Yourself & Others

         How Do I Find a COVID-19 Vaccine?

         About Variants of the Virus that Causes COVID-19​​| CDC


         Choosing Safer Activities | CDC




                                                                                                                                Last Updated Aug. 6, 2021




https://www.cdc.gov/coronavirus/2019-ncov/your-health/reinfection.html                                                                                      2/2
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                                                                                 EXHIBIT 6
aa@neg.com

From:                 PMCU <pmcu.pmcu@ba.com>
Sent:                 Monday, December 14, 2020 4:08 AM
To:                   Aaron Abadi
Subject:              Face Mask



Good morning

Thank you for your email.

Although it is mandatory for all passengers to wear a face mask, we do recognise that this may not be possible
for everyone. You will be challenged by Airport Personnel and Cabin Crew, so please be prepared to present
your Doctors letter at all times.

Kind regards
Passenger Medical Clearance Unit
British Airways

Tel. 44 (0) 208 738 5444
Fax. 44 (0) 208 738 9644

Revised Office Opening Hours:
Monday ‐ Friday 8am to 4pm
Weekends/Bank Holidays ‐ Closed

**To reply to this email send to: pmcu.pmcu@ba.com **

DATA PROTECTION
The personal and medical details you provide will be used by British Airways to handle your request for medical clearance and
to arrange the necessary travel assistance. British Airways Plc is the ‘data controller’ of your personal information under
European Union and UK data protection law. In order to assess and manage your request it may be necessary for British
Airways to disclose information relating to your health to third parties such as medical professionals, airport staff, the Civil
Aviation Authority and border control. In cases where you request mobility assistance we will need to provide your
information to the relevant airport operator.

British Airways will retain the information for a period of 13 months after which it will be destroyed.

If you have any questions about the way we use your information, please contact us by writing to: Data Protection Officer,
British Airways Plc, Waterside (HCB3), PO Box 365, Harmondsworth UB7 0GB, England or alternatively, refer to our online
Private Policy at www.ba.com.




From: Aaron Abadi <aa@neg.com>
Sent: 13 December 2020 20:12
                                                                1
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To: PMCU <pmcu.pmcu@ba.com>
Subject: Medical Disability

CAUTION: This email originated from outside of the organisation. Do not click links or open attachments unless you recognise the
sender and know the content is safe.

The CDC recommendation regarding wearing masks includes the following:
“Wearing masks may be difficult for some people with sensory, cognitive, or behavioral issues. If they are unable to wear
a mask properly or cannot tolerate a mask, they should not wear one...”

I am one of those people, unfortunately. I have serious sensory issues and cannot wear a mask for a flight.

The State of New York mandate similarly has exclusions for someone like me and requires that as a person with
disabilities, we are accommodated. I believe most mandates concur.

I already had Covid. I tested positive in early October, so there is no actual health risk to other passengers. Additionally, I
can provide a recent negative Covid test and a doctor’s letter confirming my disability and my recovery from Covid.

Here is my question:
Is it possible for me to fly with your airline and not wear a mask? Would you be able to accommodate my disability?

Thank you,

Aaron Abadi
CEO
National Environmental Group
Cell # 516‐639‐4100




                                                                 2
Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 73 of 141




  12/10/2020



                                              Name: Aaron



            Letter Details



           Yelena Karasina, MD
            NYU LANGONE AMBULA
           355 WEST 52ND ST
           NEW YORK NY 10019-6239
                                3
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England, UB7 0GB. Additional terms and conditions are available on our website: www.ba.com




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                                                                        EXHIBIT 7
aabadi@optonline.net

From:               British Airways e-ticket <BA.e-ticket@email.ba.com>
Sent:               Sunday, January 17, 2021 9:32 PM
To:                 aabadi@optonline.net
Subject:            Your e-ticket receipt SG8WIE: 23 Jan 2021 21:30




     Your e-ticket receipt
      Dear Mr Abadi,                                                 Booking reference: SG8WIE

     Thank you for booking with British Airways.
     Ticket Type: e-ticket
     This is your e-ticket receipt. Your ticket is held in our systems, you will not receive a paper ticket
     for your booking.
     If the payment cardholder is travelling, you must bring the card used to pay for this booking to
     the airport with you, for verification, before you can travel.


     What to do next
     Visit Manage My Booking and print "Your Itinerary", a customer friendly up-to-date summary of
     your booking. We suggest you take this with you on your trip, as some authorities will need to
     see a printed flight itinerary.
     Please check the details of the items purchased are correct. If you have made a mistake, you
     may cancel your flight booking and claim a refund without penalty, up to 24 hours from when
     you made the original booking. Refunds under these circumstances can only be requested by
     calling our contact centres.
     More information
     We also recommend the following services to help you get the most out of your journey:

               Generous baggage allowance
               Take full advantage of your free allowance on your British Airways operated flights, of
               2 hand baggage items and one checked bag. Find out exactly what your baggage
               allowance is.

               Pay to take extra checked bags
               Save on extra baggage charges by pre-paying on ba.com before check in. After you
               are checked in, you can only pay for extra bags at the airport.




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           Online check-in opens 24 hours before your flight departs
           Choose your seat early, print or download your boarding pass and speed through the
           airport when you check in online, from 24 hours before departure.

           Pay to choose your seat in advance
           Use our seat map to find, reserve and pay for your seat in advance.

This is only a selection of the services available for you in Manage My Booking. To use these,
or to see what else is available please click below.
The button below will take you directly to your booking. As it provides direct access, please only
forward this email if you want the recipient to access your booking and the related services.

 Manage my booking



Your Itinerary
 BA0114
 British Airways | World Traveller | Confirmed

 23 Jan 2021                                      24 Jan 2021
 21:30                                            09:20
 John F Kennedy (NY) (New York)                   Heathrow (London)
 Terminal 7                                       Terminal 5


 BA0119
 British Airways | World Traveller | Confirmed

 24 Jan 2021                                      25 Jan 2021
 13:45                                            05:00
 Heathrow (London)                                Bangalore
 Terminal 5


 Passenger                     MR AARON ABADI


Baggage allowances
Hand and checked baggage allowances
Baggage allowances apply to each passenger in your booking.

 Flights                         Hand baggage                     Checked baggage

 New York to London              1 handbag/laptop bag, plus 1     2 bags at 23kg (51lbs)
                                 additional cabin bag

                                                     2
        Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 77 of 141


 London to Bengaluru             1 handbag/laptop bag, plus 1    2 bags at 23kg (51lbs)
                                 additional cabin bag

                                 British Airways hand            British Airways checked
                                 baggage sizes and weight        baggage sizes and weight
                                 limitations                     limitations

There are restrictions on what you may pack.
You may also be charged for extra or overweight checked bags.


Extra baggage
You will have to pay for baggage which is over your allowance.
You cannot pay to take extra bags for an infant, or extra hand baggage.
Pay for extra bags using Manage My Booking

 Extra baggage charges for flight BA0114 and BA0119
 John F Kennedy (NY) (New York) to Heathrow (London)
 23 Jan 2021 21:30
 Heathrow (London) to Bangalore
 24 Jan 2021 13:45

 Extra baggage                   Airport Price                   Pre-airport price*

 1st item of luggage (max        USD 200.00                      USD 170.00
 23kg)

 2nd item of luggage (max        USD 200.00                      USD 170.00
 23kg)

 Any additional items of         USD 200.00                      USD 170.00
 luggage (max 23kg)

 Over weight baggage

 Each item of baggage            USD 100                         -

Pay for extra bags using Manage My Booking
*Pre-airport price means online or by booking through the British Airways contact centre.

       Very important information
       If you do not check your bags through to your final destination you may incur
       additional charges



Disability and mobility assistance



                                                    3
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Please contact us if you have a disability so that we can give you the help you need. You can
reserve your seat for free, book a wheelchair or mobility assistance at the airport and order a
special meal.
Contact us



Payment Information
 Ticket Number(s)              125-2116356709 (MR AARON ABADI)

 Card Type                     MasterCard Debit

 Card Holder                   MR AARON ABADI

 Card Number                   ************4652

 Billing Address               82 NASSAU STREET,140,NEW YORK NY 10038

 Payment Total                 USD 656.58

 Payment Date                  17 Jan 2021

 Flight tickets issued by      British Airways, USA

 IATA Number                   33991134

 Endorsements                  Pax carrier restriction apply penalty applies -bg:ba

 Fare Details                  USD 312.00

 Fare breakdown                The price of your ticket includes a carrier imposed charge per
                               sector levied by the carrier. All taxes, fees and charges are to
                               be paid by the member (not British Airways).

Please note that air travel is not subject to VAT therefore we do not issue VAT receipts.
Where applicable, if you wish to change the date or time of your flight, or cancel your booking,
the cost of doing so will generally be lower on ba.com than over the telephone or at a ticket
desk. Service charges are subject to change. For further details and a list of the current
charges, please visit:
https://ba.com/servicefees

 Taxes/fees/charges
 Government, authority and airport                Per adult
 charges

 Passenger Civil Aviation Security Service        USD 5.60
 Fee - USA



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 International Transportation Tax - USA                 USD 19.10

 Passenger Service Charge - United Kingdom              USD 40.38

 Passenger Facility Charge                              USD 4.50

   Total government, authority and airport                                  USD 69.58
                 charges*
             > More information

 British Airways fees and surcharges                    Per adult

 Carrier Imposed Charge                                 USD 275.00

 Total British Airways fees and surcharges                                 USD 275.00
              > More information

     Total taxes, fees and surcharges per                                  USD 344.58
                     person

*Government and/or airport taxes are refundable, however some countries will apply a Value
Added Tax, Sales Tax or equivalent, which will only be refunded on fully flexible tickets.
**A refund of the carrier imposed charge may be made on unused flights in your itinerary if it is
permitted by the fare rules and conditions applicable to your booking.
Please note that air travel is not subject to VAT therefore we do not issue VAT receipts.

Yours sincerely,
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Your questions

Data Protection Notice


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Your personal data will be processed in accordance with the applicable marketing and operating carrier’s
privacy policy and, where your booking is made via a reservation system provider (“GDS”), with its privacy
policy. These are available at http://www.iatatravelcenter.com/privacy or from the carrier or GDS directly. You
should read this documentation, which applies to your booking and specifies, for example, how your personal
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Passenger notices

Dangerous articles in baggage
For safety reasons, dangerous articles such as those listed below, must not be carried in passengers
checked or hand/cabin baggage:




   Acids      Poisons   Flammable Explosives Matches / Bleach           Incapacitating   Ignitable Compressed
                          liquids            Lighters                       sprays          gas       gas
                                                                                          devices
or other articles or substances which present a danger during air transport.
More information on dangerous articles in baggage is available here
More information on security prohibited items (PDF, 29 kb, English only)

Notice
If the passenger's journey involves an ultimate destination or stop in a country other than the country of
departure the Warsaw Convention or the Montreal Convention may be applicable and these Conventions
govern and may limit the liability of carriers for death or bodily injury and in respect of loss of or damage to
baggage. Many air carriers have waived the Warsaw Convention limits for death or bodily injury. Further
information may be obtained from the carrier. For further information see the Notice of Liability Limitations.

Conditions of Carriage
It is important that you read this section carefully as it contains important information about the terms on
which carriage and other services are provided to you.
Carriage and other services provided by the carrier are subject to Conditions of Carriage and the Conditions
of Contract, which are hereby incorporated by reference. These conditions may be obtained from the issuing
carrier.
Copies of the Conditions of Contract and the British Airways General Conditions of Carriage are available on
request or can be obtained at the airport or online here:
Conditions of Contract
British Airways General Conditions of Carriage

Notice of liability limitations
The Montreal Convention or the Warsaw Convention system may be applicable to your journey and these
Conventions govern and may limit the liability of air carriers for death or bodily injury, for loss of or damage to
baggage, and for delay. For more information, please visit:
Liability limitations


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     Passenger service charge and carrier imposed charge
     The price of your ticket includes a carrier imposed charge. They are shown in the "TAX/FEE/CHARGE" area
     of your ticket. These sums are levied by British Airways and are not a tax, fee or charge imposed by a
     Government Authority or by a third party. UB is the Passenger Service Charge which carriers pay to UK
     airport operators for each passenger's use of airport facilities.

     Notice of government and airport imposed taxes, fees and charges
     The price of this ticket may include taxes, fees and charges which are imposed on air transportation by
     Government Authorities and Airports. They may represent a significant portion of the cost of air travel and are
     either included in the fare or shown separately in the "TAX/FEE/CHARGE" box(es) of this ticket. You may
     also be required to pay taxes, fees and charges not already collected.

     Overbooking
     For a copy of British Airways' overbooking policy, please visit:
     Overbooking policy

     Travel aware

     We recommend that all British travellers check the Foreign and Commonwealth Office website for essential
     travel advice to make informed decisions about travelling abroad. For the latest information relating to specific
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     nationals of other countries, please check your own government's travel advice.




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                                                                              EXHIBIT 8
aabadi@optonline.net

From:               British Airways Customer Services <BA.CustSvcs@email.ba.com>
Sent:               Thursday, January 21, 2021 8:44 AM
To:                 aabadi@optonline.net
Subject:            BA confirmation of flight changes: Ref.SG8WIE




           BA confirmation of flight changes
           Dear Mr Abadi,                                                  Booking reference: SG8WIE

           Please accept our apologies for any inconvenience caused.



           Changes to your itinerary
           Following our recent contact regarding your affected flights, please see details below of the
           changes that have been agreed. If you require any further information regarding your
           itinerary, please refer to ba.com or your travel agent.

            Passengers:                  MR AARON ABADI



            BA0114
            BRITISH AIRWAYS | WORLD TRAVELLER | Confirmed

            22 Jan 2021                                       23 Jan 2021
            21:30                                             09:20
            JOHN F KENNEDY                                    HEATHROW
            Terminal 7                                        Terminal 5



            BA0119
            BRITISH AIRWAYS | WORLD TRAVELLER | Confirmed

            23 Jan 2021                                       24 Jan 2021
            12:45                                             04:00
            HEATHROW                                          BANGALORE
            Terminal 5



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 e-ticket number(s):           125-2116449014



What to do next
Please check in for your new flight(s) as normal.
If you had already checked in bags and are no longer in possession of these bags, please
contact a British Airways service desk before checking-in for your new flight.
To view full details of your booking and check-in information, please click the link below:

 Manage My Booking


Important travel information and check in options
We advise you to carry a copy of this email with you for international travel, as you may need
to present it at immigration and security points.
Your ticket coupons are stored electronically in our computer system. The conditions of
contract relating to your ticket are detailed at the end of this email. Please keep your original
e-ticket receipt for reference.



Useful service links
Click on the link below to go to Manage My Booking, where you can:
       Make seat requests
       Check in online
       Notify us of special dietary requirements
    

 Manage My Booking


Have you also booked hotel, car or insurance?
Changes made to your flights do not change any non-flight products associated with this
booking such as car or hotel reservations, or insurance. You will need to contact your booking
agent to make any further changes.



Baggage
For detailed checked (hold) baggage allowance, including infant allowances, click the link
below
http://ba.com/baggage



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           Baggage that exceeds allowances will incur a charge. No single item of baggage may weigh
           more than 32kg (70lbs)
           For cabin bag allowance click the link below
           http://ba.com/cabinbag



           How to contact us
           We try to offer you as full a service as possible, but we are unable to respond to individual
           replies to this email.
           If you do have a question to ask us, you can find answers and our email form by clicking the
           link below:
           http://ba.com/yourquestions
           For phone numbers, click the link below
           http://ba.com/contactus


           Yours sincerely,
           British Airways Customer Services




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                                                        4
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                                                                                                                                                                           EXHIBIT 9
aa@neg.com

From:                                                                                            noreply@pramit.co.in on behalf of PRAMIT (Helpline), CGI, New York. <noreply@pramit.co.in>
Sent:                                                                                            Thursday, January 28, 2021 9:54 AM
To:                                                                                              aa@neg.com
Subject:                                                                                         Response of CGI, NY on PRAMIT ID : CGNY-QY-ZIWPR81644



                                                                                                                        Welcome to Consulate General Of India, New York
 Dear Aaron Abadi,
 Attached visa is completely valid to travel to India.

 It is recommended that you may travel by Air India VBM direct flight from USA to India. In case of any deviation (other
 airlines or indirect flight), please check with airlines concerned before booking the air tickets that they would allow you
 to travel.




 If you have any further questions/doubts or you would like to submit your reply : please visit our website and submit your
 query/reply through PRAMIT using your PRAMIT ID.

 Please do not reply to this e-mail.

 Thanks & Regards,
 Consulate General of India
 3 East 64th Street,
 New York, NY.
 Tel No. for all enquiries : +1 347-721-9243
                           To help protect y      To help protect y       To help protect y      To help protect y       To help protect y      To help protect y
                           Micro so ft Office p   Micro so ft Office p    Micro so ft Office p   Micro so ft Office p    Micro so ft Office p   Micro so ft Office p
                           auto matic downlo      auto matic downlo       auto matic downlo      auto matic downlo       auto matic downlo      auto matic downlo
                           picture from the       picture from the        picture from the       picture from the        picture from the       picture from the
                           fb                     twitter                 instrag ram            y outube                Link ed In             PRA MIT




    To help protect y
    Micro so ft Office p
    auto matic downlo
    picture from the




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                                                                            EXHIBIT 10
aa@neg.com

From:               Anand Swarup <support.covid19-boi@gov.in>
Sent:               Saturday, February 6, 2021 8:54 AM
To:                 aa@neg.com
Cc:                 BOI SUPPORT CENTRE
Subject:            Re: Business visa


Dear Sir/Madam,

1) As per the latest guidelines dated 21.10.2020 of Ministry of Home Affairs, All existing visas, except
electronic visas (e-Visa), Tourist visa and Medical Visa, which remained suspended, are restored with
immediate effect. If the validity of such visa has expired, the foreign national may obtain a fresh visa of
appropriate category/sub-category from the Indian Mission/Post concerned .

2) You may please visit website <https://www.boi.gov.in> for the latest guidelines/travel advisories
issued by the Ministry of Home Affairs, Govt. of India.

Following categories of foreign nationals are permitted to enter India by water routes or by flights including
those under the Vande Bharat Mission or ‘Air Bubble’ (Bilateral Air Travel Arrangements) Scheme or by any
non-scheduled commercial flights as allowed by the Ministry of Civil Aviation:-

(a) All Overseas Citizen of India (OCI) cardholders and PIO cardholders holding passports of any country.

(b) All foreign nationals intending to visit India for any purpose(including their dependents on appropriate
category of dependent visa) except those on Tourist Visa.

For all immigration, registration, visa, ECNR etc. related queries Email may be sent on Support
Centre's email id : support-boi@mha.gov.in

Phone Numbers of BOI Support Centre 011-26711443 and 011-26713851

BOI Team


From: aa@neg.com
To: "Anand Swarup" <support.covid19-boi@gov.in>
Sent: Saturday, February 6, 2021 6:38:10 PM
Subject: Business visa

Hi
I was emailed by the Indian Consulate in New York that the attached visa is now fine to use and that I can get
into India with it. I tried three times in the last two weeks, but was denied by British Airways to board the flight
to India.
They quoted the Immigration officials in Bangalore Airport that they were on the phone with, that said that my
business visa is not valid for travel to India.

Why am I getting conflicting stories, and what is the truth? How can I get to Bangalore now?

Thank you,

Aaron Abadi
CEO
                                                          1
            Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 88 of 141
National Environmental Group
Cell # 516-639-4100




                                            2
              Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 89 of 141

                                                                                     EXHIBIT 11
aa@neg.com

From:                Matthew Roberts <matthew.roberts@ba.com>
Sent:                Monday, February 22, 2021 6:25 PM
To:                  Aaron Abadi
Subject:             RE: Denied passage to India due to mask disability


Dear Mr. Abadi,

Thank you for your email. I will follow up with Customer Relations regarding this.

Sincerely,



Matthew Roberts

Matthew J Roberts MSc (he/him)
Airport Manager British Airways
Washington Dulles, Baltimore & Charleston




Cell:      001‐571‐888‐6354
Office:    001‐703‐572‐2455
Email:     matthew.roberts@ba.com
Telex:     IADKPBA

Mailing Address:
PO Box 17286
Washington DC 20041

Courier Address:
British Airways Operations Office
Suite #M220
Ticket Counter, Kiosk 1
Departures Level
Washington Dulles International Airport
Dulles, VA 20166




                                                            1
               Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 90 of 141




From: Aaron Abadi <aa@neg.com>
Sent: Monday, February 22, 2021 10:23 AM
To: Matthew Roberts <matthew.roberts@ba.com>
Subject: Re: Denied passage to India due to mask disability

CAUTION: This email originated from outside of the organisation. Do not click links or open attachments unless you recognise the
sender and know the content is safe.

I have still not received any refund.

Aaron Abadi
CEO
National Environmental Group
Cell # 516‐639‐4100




        On Feb 12, 2021, at 9:44 PM, Matthew Roberts <matthew.roberts@ba.com> wrote:


        Dear Mr. Abadi,

        Thank you for your email. I appreciate the outcome of our telephone conversation was disappointing
        news for you.

        Further to your question below, I am the British Airways Complaints Resolution Officer for Washington
        Dulles. A determination has been made that we are unable to accept you for travel according to TSA,
        CBP and CDC regulations.

        Your refund request, plus the $34, has been passed to our Customer Relations team for processing. For
        any other claims please contact our Customer Relations Department at;

        British Airways Customer Relations
        2 Park Ave Suite 1100
        New York NY 10016

        Or on 1-800-247-9297 or via https://www.britishairways.com/en-us/information/help-and-contacts/contact-
        us


        Sincerely,

        Matthew Roberts
        Airport Manager Washington Dulles




        Matthew Roberts
                                                                 2
        Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 91 of 141

<image001.jpg>

Matthew J Roberts MSc (he/him)
Airport Manager British Airways
Washington Dulles, Baltimore & Charleston

<image003.jpg>

Cell:     001‐571‐888‐6354
Office:   001‐703‐572‐2455
Email:    matthew.roberts@ba.com
Telex:    IADKPBA

Mailing Address:
PO Box 17286
Washington DC 20041

Courier Address:
British Airways Operations Office
Suite #M220
Ticket Counter, Kiosk 1
Departures Level
Washington Dulles International Airport
Dulles, VA 20166




From: Aaron Abadi <aa@neg.com>
Sent: Thursday, February 11, 2021 5:43 PM
To: Matthew Roberts <matthew.roberts@ba.com>
Cc: 'Aaron Abadi' <aa@neg.com>; Lisa Williams <lisa.1.williams@ba.com>; PMCU
<pmcu.pmcu@ba.com>
Subject: Denied passage to India due to mask disability

CAUTION: This email originated from outside of the organisation. Do not click links or open attachments unless you
recognise the sender and know the content is safe.

Matt,

Thank you for trying to help me with my Indian Visa issue. If I understood you correctly, the visa was
actually valid and the previous three times that I was not allowed to board for having an invalid visa
were mistakes. Those dates were Friday January 22, 2021, Wednesday February 3, 2021, and Friday Feb
5, 2021.

I filed a complaint with Customer Relations, number # 22104202

                                                        3
      Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 92 of 141

Please forward this email to them, so that they can add all three times to the complaint, and this fourth
time in Washington DC, today.
As you said to me today, I was right, my Visa was valid all these times, and I was not allowed to travel in
error by British Airways. They got mixed up with a previous regulation that was canceled long before I
attempted to travel.

I spent money getting to and from the airport in NYC from Philadelphia, and from Philadelphia to
Washington DC.. I should be reimbursed for that. My time is valuable, and to be treated this way is
wrong and unfair. I should be reimbursed for that too. And I should not be treated this way.

Now I was just turned away by you not because of the Indian Visa, but because of the fact that I have a
medical disability and cannot wear a mask. I gave you the letter from my doctor, a copy of two emails
from the British Airways Medical Clearance Unit approving me to travel with out a mask, a copy of CDC
regulations, and DOT OACP all requiring the airlines to allow me to fly without a mask due to my
disability. It’s a sensory disability and it is listed clearly on the exemption.
(For the non‐medical people who try reading the Doctor’s letter and don’t understand…If you read the
Doctor’s letter and you see that it explains that I am sensitive to touch. Touch is one of the five
senses. That is what is being described, a sensory disability, clearly as described in the laws.)
Additionally, if you like, I can provide the same proof of exemption for the City of London, for the United
Kingdom, and for the City of Bangalore.

In the interim, please fully credit my ticket charges back to my card, as promised, and please include the
$25 and $9 extra charges during the flight changes.

Additionally, please give me the contact info for your Complaint Resolution Official (CRO), as required
by the DOT. I would like to speak to him or her and see if they can help resolve this.

I think it is mean and dehumanizing to force someone with a disability to stay home. My sole source of
income relies on my travel for business. I will look into possible legal action, if this persists.
I pose almost no risk at all to other passengers as is clear on my Doctor’s Letter, which states that I
already recovered from Covid. Yes, some suggest that one can get Covid twice, but the statistical data at
this point puts it at less than 0.03%. This means that I am thousands of times less of a risk without my
mask as your other passengers are, mask and all.

Please save my contact info and supply it to your superiors. Hopefully, once the panic is over, you all
will want to apologize for your part in these reprehensible actions.


Aaron Abadi
CEO
National Environmental Group
Cell 516‐639‐4100
<image004.jpg>

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computer system. Please do not read, print, re‐transmit, store or act in reliance on it or any
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permitted by law, for the purposes of security and staff training and in order to prevent or detect
unauthorised use of the British Airways email system. Virus checking of emails (including attachments) is
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and Wales. Registered number: 1777777. Registered office: Waterside, PO Box 365, Harmondsworth,

                                                     4
              Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 93 of 141

        West Drayton, Middlesex, England, UB7 0GB. Additional terms and conditions are available on our
        website: www.ba.com
This message is private and confidential and may also be legally privileged. If you have received this message in error,
please email it back to the sender and immediately permanently delete it from your computer system. Please do not
read, print, re‐transmit, store or act in reliance on it or any attachments. British Airways may monitor email traffic data
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                                                             5
              Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 94 of 141

                                                                            EXHIBIT 12
aa@neg.com

From:               Matthew Roberts <matthew.roberts@ba.com>
Sent:               Wednesday, December 15, 2021 2:17 PM
To:                 aa@neg.com
Subject:            RE: Denied passage to India due to mask disability


Dear Mr. Abadi,

Thank you for your email.

I regret to advise that nothing has changed since February regarding the rules and regulations on mask wearing in the
airports and on‐board. The same criteria applies as last time. I wish I could bring you better news.

Sincerely,



Matt Roberts


Matthew J Roberts MSc (he/him)
Airport Manager British Airways
Washington Dulles & Baltimore Airports




Cell:      001‐571‐888‐6354
Office:    001‐703‐572‐2455
Email:     matthew.roberts@ba.com
Telex:     IADKPBA

Mailing Address:
PO Box 17286
Washington DC 20041

Courier Address:
British Airways Operations Office
Suite #M220
Ticket Counter, Kiosk 1
Departures Level
Washington Dulles International Airport

                                                           1
               Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 95 of 141

Dulles, VA 20166




From: aa@neg.com <aa@neg.com>
Sent: Tuesday, December 14, 2021 10:40 AM
To: Matthew Roberts <matthew.roberts@ba.com>
Subject: RE: Denied passage to India due to mask disability

CAUTION: This email originated from outside of the organisation. Do not click links or open attachments unless you recognise the
sender and know the content is safe.

Matt,

Hope all is well.
I realize that policies evolve.
As you are aware, I have a disability and cannot wear a mask.
Previously, you told me that I cannot fly on British Airways.
Has anything changed on your end?

Please let me know if I can now fly either from JFK, EWR, BWI, or Dulles.
I need to fly to Bangalore India again.

Thank you,

Aaron Abadi



From: Matthew Roberts <matthew.roberts@ba.com>
Sent: Monday, February 22, 2021 6:25 PM
To: Aaron Abadi <aa@neg.com>
Subject: RE: Denied passage to India due to mask disability

Dear Mr. Abadi,

Thank you for your email. I will follow up with Customer Relations regarding this.

Sincerely,



Matthew Roberts

Matthew J Roberts MSc (he/him)
Airport Manager British Airways
                                                                 2
               Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 96 of 141

Washington Dulles, Baltimore & Charleston




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I have still not received any refund.

Aaron Abadi
CEO
National Environmental Group
Cell # 516‐639‐4100




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                                                                 3
      Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 97 of 141

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Dulles. A determination has been made that we are unable to accept you for travel according to TSA,
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any other claims please contact our Customer Relations Department at;

British Airways Customer Relations
2 Park Ave Suite 1100
New York NY 10016

Or on 1-800-247-9297 or via https://www.britishairways.com/en-us/information/help-and-contacts/contact-
us


Sincerely,

Matthew Roberts
Airport Manager Washington Dulles




Matthew Roberts
<image001.jpg>

Matthew J Roberts MSc (he/him)
Airport Manager British Airways
Washington Dulles, Baltimore & Charleston

<image003.jpg>

Cell:     001‐571‐888‐6354
Office:   001‐703‐572‐2455
Email:    matthew.roberts@ba.com
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                                                   4
        Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 98 of 141

Washington Dulles International Airport
Dulles, VA 20166




From: Aaron Abadi <aa@neg.com>
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To: Matthew Roberts <matthew.roberts@ba.com>
Cc: 'Aaron Abadi' <aa@neg.com>; Lisa Williams <lisa.1.williams@ba.com>; PMCU
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In the interim, please fully credit my ticket charges back to my card, as promised, and please include the
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                                                        5
              Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 99 of 141

        Additionally, please give me the contact info for your Complaint Resolution Official (CRO), as required
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        mask as your other passengers are, mask and all.

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        Aaron Abadi
        CEO
        National Environmental Group
        Cell 516‐639‐4100
        <image004.jpg>

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                                                                                                                            EXHIBIT 13


Date             Airport Flight Info                           Story                                         Travel to & from airport

  1/22/2021 JFK          JFK/LHR/BLR BA0116 & BA0119           first refused to take me becsause of mask, the Amtrak to; Avis back

   2/3/2021 JFK          JFK/LHR/BLR BA0116 & BA0119           same routine                                  uber or lyft to; Avis back

   2/5/2021 JFK          JFK/LHR/BLR BA0116 & BA0119           same routine                                  uber or lyft to; Avis back

   2/9/2021 Dulles No flight that day, came early to confirm

  2/11/2021 N/A                                                Denied all travel without mask permanently

  2/14/2021 Dulles IAD/LHR/BLR BA292 & BA119                   Denied due to mask




COSTS

        22-Jan           Amtrak PHL to NYC                                                                                                $   107.00

        22-Jan           from JFK to Philly                    jan 22 to 23                                                               $    47.14

        22-Jan           Tolls                                 return trip tolls                                                          $    40.00

        22-Jan           Gas                                   one-way gas                                                                $    20.00

        23-Jan           Uber                                  from rental                                                                $     9.37

        3-Feb            Lyft to airport                                                                                                  $    27.34

        3-Feb            from JFK & back to JFk 2/5            AVIS Rental 2/3 to 2/5                                                     $   185.85

        3-Feb            Tolls                                 roundtrip tolls                                                            $    80.00

        3-Feb            gas                                   roundtrip gas                                                              $    35.00

        5-Feb            Tolls                                 roundtrip tolls                                                            $    80.00

        5-Feb            Gas                                   roundtrip gas                                                              $    35.00

        5-Feb            Lyft from Airport to my car in lawrence                                                                          $    20.80

        5-Feb            Avis Rental back                                                                                                 $    29.69

        9-Feb            Tolls                                 roundtrip tolls                                                            $    40.00

        9-Feb            gas                                   roundtrip gas                                                              $    45.00




                                                                                                             Total                        $   802.19
                 Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 101 of 141


                                                                                                            eTicket
                                                             PRESENT THIS DOCUMENT FOR BOARDING
                                                                                RESERVATION NUMBER 02B850
          RES# 02B850-21JAN21


PHL                                 NYP                                 One-Way
PHILA GRAY 30TH ST, PA              NY MOYNIHAN-PENN STA,               JANUARY 22, 2021




 TRAIN         ACELA                                  PHILADELPHIA (GRAY 30TH ST STA)             DEPARTS             ARRIVES (Fri Jan 22)

 2170          Jan 22, 2021
                                                      - NY MOYNIHAN TRAIN HALL AT PENN
                                                      1 Acela Business Class Seat                 4:36 PM             5:49 PM
                                                      Car 5 | Seat 4F
PASSENGERS (1)                                                            AMTRAK GUEST REWARDS
ABADI, AARON                        ADULT                                 7021470351 | MEMBER
Proper identification is required for all passengers. This document is valid for only passengers listed. See www.amtrak.com/ID for details.

IMPORTANT INFORMATION
• CANCELLATION FEE MAY APPLY.                                             • ACELA SERVICE, NO PARTIAL REFUND IF USED ON OTHER
                                                                            SERVICE


• Amtrak has expanded passenger services in New York City into Moynihan Train Hall, located directly across from Penn Station at 8th Ave. in
  the historic James A. Farley Post Office Building. When disembarking the train in NYC, platform signage will direct you to exit into either
  Moynihan Train Hall or Penn Station.
• Visit Amtrak.com/coronavirus to learn about Amtrak's enhanced safety and cleaning measures and updated travel information.
• Facial coverings: All customers and employees must wear a face mask or covering that fully covers the entire mouth and nose, fits snugly
  against the side of the face, and secures under the chin at all times while onboard and in stations unless actively eating or drinking. Face
  masks can be removed when customers are in their private rooms with the doors closed.
• Follow guidance on safe travel: Do not travel when you are experiencing COVID-19 symptoms or when you meet public health criteria for
  quarantine. See Amtrak.com/terms-and-conditions for details, and contact us to reschedule or cancel your travel.
• State quarantines: We encourage customers to check local and state travel advisories prior to travel. Visit Amtrak.com/quarantine for the
  latest updates on state mandatory quarantines on travelers from COVID-19 hotspots.
• Cashless service: Amtrak is only accepting cashless payments in stations and on trains.
• eTickets for Reserved services are valid only for the specific train number, date and accommodation type booked.
• You have a reserved seat in Acela Business class. To view or change your seat location, retrieve your reservation on Amtrak.com or in the
  Amtrak app. Be sure to reprint your eTicket if you change your seat. For more information about reserved seating, visit Amtrak.com/reserved-
  seating.
• Customers are encouraged to arrive at the station 30 minutes before departure or 60 minutes if in need of ticketing and/or baggage
  assistance, or if you're boarding at a Canadian station. Check the recommended arrival times for your departure station at
  Amtrak.com/stations.
• Tickets are non-transferable. They are valid only for the personal use of the passenger(s) named on the ticket.
• For Amtrak travel information, or to make adjustments to your travel plans, please visit Amtrak.com, or call 1-800-USA-RAIL (1-800-872-
  7245).
• Your printed eTicket travel document shows the services you booked. If you change your booking but do not reprint the document, it will not
  reflect your current itinerary. Your eTicket is automatically updated in the Amtrak mobile app, and you can view an updated copy on




RES# 02B850       PHL-NYP | One-Way         Travel Date: Jan 22, 2021         1-800-USA-RAIL (1-800-872-7245)
                  Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 102 of 141


 Amtrak.com. At some stations, a gate agent may need to view your eTicket prior to boarding (learn more at Amtrak.com/boarding).
• Changes to your itinerary may result in an increase to your fare, and may also result in fees or forfeiture of value. For more information, visit
 Amtrak.com/changes.
• Carry-on baggage is limited to 2 personal items under 14x11x7 inches & 25 lbs. per item, and 2 bags under 28x22x14 inches & 50 lbs. per
  bag, per passenger. You may be charged a baggage fee or denied boarding if your items exceed these limitations. See the baggage policy at
  Amtrak.com/baggage.
• At most stations where checked baggage service is available, baggage check-in normally must be completed by 45 minutes prior to
  departure, unless a different time limit applies to your specific station and/or train. See the baggage policy at Amtrak.com/checked-baggage.
• Check the departure board or ask a uniformed Amtrak employee to find out where to board your train.
• If You See Something Say Something! Contact Amtrak Police at 1-800-331-0008 or Text to APD11 (27311).




RES# 02B850        PHL-NYP | One-Way          Travel Date: Jan 22, 2021        1-800-USA-RAIL (1-800-872-7245)
           Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 103 of 141


aa@neg.com

From:                                                                                                                      Avis <avis@e.avis.com>
Sent:                                                                                                                      Friday, January 22, 2021 9:13 PM
To:                                                                                                                        AA@NEG.COM
Subject:                                                                                                                   Reservation Reminder | John F Kennedy Intl Airport,JFK | 01/22/2021


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                                                   REMINDER: If you haven't done so, please login and review our recently updated Avis
                                                   Preferred® Global Rental Agreement Terms and Conditions and Privacy Notice. Both
                                                   have been updated to reflect enhanced services and features available to you when
                                                   renting with Avis.

                                                   Thank you for being a valued Avis customer.




                                                                                                                                                                                                                                                               ADDITIONAL LIABILITY INSURANCE

                                                                                                                                                                                                                                                       Additional Liability Insurance protects you and all authorized
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                                                                                                                                                                                                                                                       drivers against third-party bodily injury and property-damage
                                                                                                                                                                                                                                                                                   claims.

                                                                                                                                                                                                                                                                            PROTECT MY RENTAL


                                                                                                                                                                                                                                                       Easily split corporate and personal travel expenses between
                                                                                                                                                                                                                                                              two credit cards with Split My Bill. Learn more.




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                 CONFIRMATION NUMBER

           47591258US1

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Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 104 of 141


Friday                                                                                                                                                                                                                                           Saturday
January 22, 2021                                                                                                                                                                                                                                 January 23, 2021
9:00 PM                                                                                                                                                                                                                                          12:00 PM
John F Kennedy Intl Airport,JFK                                                                                                                                                                                                                  GSB Building - Bala Cynwyd,C6Y
Building #305 Federal Circle                                                                                                                                                                                                                     One Belmont Avenue, Gsb Building Bala
Jamaica, NY 11430 US                                                                                                                                                                                                                             Cynwyd
718-244-5400                                                                                                                                                                                                                                     Bala Cynwyd, PA 19004 US
                                                                                                                                                                                                                                                 610-667-2191
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 ESTIMATED TOTAL                                                                                                                                                                                                                                   YOUR CAR

$47.14                                                                                                                                                                                                                                                                                       To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




See full rental summary
                                                                                                                                                                                                                                                 Toyota Prius Hybrid or similar



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           Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 105 of 141


aa@neg.com

From:                                                                                                                      Avis <avis@e.avis.com>
Sent:                                                                                                                      Wednesday, February 3, 2021 9:14 PM
To:                                                                                                                        AA@NEG.COM
Subject:                                                                                                                   Reservation Reminder | John F Kennedy Intl Airport,JFK | 02/03/2021


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                                                                                                                                                                                                                                        PROTECTED

                                                                                                                                                                                                                            Add LDW and you'll be protected from out of pocket expenses,
                                                                                                                                                                                                                      increases to your personal policy, and are not financially responsible for
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                                                                                                                                                                                                                                              damage to our vehicle.


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                                                                                                                                                                                                                           Easily split corporate and personal travel expenses between two
                                                                                                                                                                                                                                    credit cards with Split My Bill. Learn more.



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                 CONFIRMATION NUMBER

           48087367US6

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           Wednesday                                                                                                                                                                                                                                    Friday
           February 03, 2021                                                                                                                                                                                                                            February 05, 2021
           9:00 PM                                                                                                                                                                                                                                      9:00 PM
           John F Kennedy Intl Airport,JFK                                                                                                                                                                                                              John F Kennedy Intl Airport,JFK
           Building #305 Federal Circle                                                                                                                                                                                                                 Building #305 Federal Circle
           Jamaica, NY 11430 US                                                                                                                                                                                                                         Jamaica, NY 11430 US
           718-244-5400                                                                                                                                                                                                                                 718-244-5400

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Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 106 of 141


  C A N C E L R E SE R V AT I O N                                                                                                            C A N C E L R E SE R V AT I O N




 ESTIMATED TOTAL                                                                                                                            YOUR CAR

$185.85                                                                                                                                            To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




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                                                                                                                                           Toyota Tacoma or similar



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           Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 107 of 141


aa@neg.com

From:                                                                                                                      Avis <avis@e.avis.com>
Sent:                                                                                                                      Friday, February 5, 2021 9:14 PM
To:                                                                                                                        AA@NEG.COM
Subject:                                                                                                                   Reservation Reminder | John F Kennedy Intl Airport,JFK | 02/05/2021


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                                                                                                                                 SAVE 10% WITH OUR ULTIMATE PROTECTION PACKAGE!

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                                                                                                                                       Roadside Assistance, we have got you covered.

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                 CONFIRMATION NUMBER

           48187356US0

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           Friday                                                                                                                                                                                                                                            Saturday
           February 05, 2021                                                                                                                                                                                                                                 February 06, 2021
           9:00 PM                                                                                                                                                                                                                                           9:00 PM
           John F Kennedy Intl Airport,JFK                                                                                                                                                                                                                   John F Kennedy Intl Airport,JFK


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Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 108 of 141


Building #305 Federal Circle                                                                                                               Building #305 Federal Circle
Jamaica, NY 11430 US                                                                                                                       Jamaica, NY 11430 US
718-244-5400                                                                                                                               718-244-5400

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  C A N C E L R E SE R V AT I O N                                                                                                            C A N C E L R E SE R V AT I O N




 ESTIMATED TOTAL                                                                                                                            YOUR CAR

$29.69                                                                                                                                             To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.




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                                                                                                                                           Toyota Tacoma or similar



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AARON ABADI                                                       Account                          Page 4 of 6
                                                                  Statement Period - Jan 11 - Feb 10, 2021

CHECKING ACTIVITY                                                                                                Continued


 Date Description                                                       Amount Subtracted     Amount Added       Balance
 02/01 Debit Card Purchase 01/28 03:02a #4652                                       18.98                        9,061.69
       WEB*NETWORKSOLUTIONS 8886429675 FL 21029
       Misc Mail & Phone orders
 02/02 ACH Electronic Debit GenesisFS Card 8669469545 000001278047212               28.33
 02/02 ACH Electronic Debit CONT FINANCE PAY BY PHO                                250.00
 02/02 Debit Card Purchase 01/29 02:51p #4652                                        2.11
       WAWA 294     00002949 NARBERTH         PA 21030
       Food & Beverages
 02/02 Debit Card Purchase 01/28 11:19p #4652                                         2.33
       SUNOCO 0368301801 QPS WOODBRIDGE TW NJ 21030
       Autos (rental, service, gas)
 02/02 Debit Card Purchase 01/28 10:52p #4652                                        20.02
       EXXONMOBIL 97491104 BROOKLYN             NY 21030
       Autos (rental, service, gas)
 02/02 Debit Card Purchase 01/29 02:12p #4652                                        35.00
       SLING.COM            8883886210   CO 21030
       Phones, Cable & Utilities
 02/02 Debit Card Purchase 01/28 02:28p #4652                                        37.00
       GOODYEAR AUTO SVS CTR LAWRENCE                NY 21030
       Autos (rental, service, gas)
 02/02 Debit Card Purchase 01/28 03:34p #4652                                        55.33
       GOURMET GLATT - CEDARH CEDARHURST              NY 21030
       Food & Beverages
 02/02 Debit Card Purchase 01/30 11:27a #4652                                      100.00                        8,531.57
       EXXONMOBIL 98701972 CARTERET            NJ 21032
       Autos (rental, service, gas)
 02/04 Debit Card Purchase Adjustment                                                                 100.00
       EXXONMOBIL98701972CARTERETNJ21032
 02/04 ACH Electronic Credit NYS DOL UI DD UI DD                                                      182.00
 02/04 ACH Electronic Credit NYS DOL UI DD UI DD                                                      300.00
 02/04 ACH Electronic Debit CONT FINANCE PAY BY PHO                                500.00
 02/04 Debit PIN Purchase                                                            4.02                        8,609.55
       GIANT 6506 50 E WYNNE WYNNEWOOD PAUS05154
 02/05 Debit PIN Purchase 7-ELEVEN      JERSEY CITY NJUS05155                         8.36
 02/05 Debit PIN Purchase BELT PARKWAY RE   BROOKLYN NYUS00155                       35.83
 02/05 Debit Card Purchase 02/03 02:35p #4659                                        24.04                       8,541.32
       TST* SUSHI & CO       NEW YORK       NY 21035
       Restaurant/Bar
 02/08 Debit PIN Purchase                                                            26.74
       GIANT 6506 50 E WYNNE WYNNEWOOD              PAUS05154
 02/08 Debit PIN Purchase                                                            30.30
       SUNOCO 06196943     BELMONT HILLSPAUS00155
 02/08 Debit PIN   Purchase SUNOCO 01797430   JAMAICA            NYUS00155           37.00
 02/08 Debit Card Purchase 02/03 11:13p #4659                                         2.23
       QUICK CHEK CORPORATI NORTH BRUNSWI NJ 21036
       Autos (rental, service, gas)
 02/08 Debit Card Purchase 02/04 11:26a #4659                                        11.44
       WAWA 294     00002949 NARBERTH         PA 21036
       Food & Beverages
 02/08 Debit Card Purchase 02/03 06:51p #4659                                        27.34                       8,406.27
       LYFT RIDE WED 7PM       8558659553    CA 21036
       Misc Transportation
 02/09 Debit Card Purchase Return 02/07 #4659                                                           6.03
       LYFT *CANCEL FEE       8558659553    CA 21039
       Misc Transportation
 02/09 ACH Electronic Credit     NYS DOL UI DD       UI DD                                            182.00
 02/09 ACH Electronic Credit     NYS DOL UI DD       UI DD                                            300.00
 02/09 Debit PIN Purchase                                                            14.84
       ROYAL FARMS #31        WHITE MARSH MDUS05155
 02/09 Debit PIN Purchase                                                            27.80
       ROYAL FARMS #31        WHITE MARSH MDUS00155
 02/09 Debit Card Purchase 02/07 11:37a #4659                                         2.11
       WAWA 294     00002949 NARBERTH         PA 21039
       Food & Beverages
 02/09 Debit Card Purchase 02/05 11:37p #4659                                         2.12
       WAWA 8339 00083394 LAWRENCE TWP NJ 21037
       Autos (rental, service, gas)
 02/09 Debit Card Purchase 02/06 08:39p #4659                                         6.03
       LYFT *CANCEL FEE       855-865-9553 CA 21039
       Misc Transportation
 02/09 Debit Card Purchase 02/06 08:30p #4659                                         6.03
       LYFT *CANCEL FEE       855-865-9553 CA 21039
       Misc Transportation
 02/09 Debit Card Purchase 02/06 10:25p #4659                                         8.40
       DUNKIN #353390        ISELIN      NJ 21039
       Restaurant/Bar
                   Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 112 of 141
                                                                                                                                                                   010/R1/04F000
  AARON ABADI                                                                     Account                          Page 5 of 6
                                                                                  Statement Period - Jan 11 - Feb 10, 2021

  CHECKING ACTIVITY                                                                                                                                            Continued


    Date Description                                                                       Amount Subtracted                 Amount Added                       Balance
    02/09 Debit Card Purchase 02/06 07:03p #4659                                                        9.41
              BRITISH 12521163541980 344-4930787 NY 21039
              Airlines & Airports
    02/09 Debit Card Purchase 02/07 #4659                                                                      20.80
              LYFT RIDE SAT 8PM         8558659553     CA 21039
              Misc Transportation
    02/09 Debit Card Purchase 02/05 04:19p #4659                                                               30.00                                            8,766.76
              PARKING 05411-WALNUT T 215-569-8400 PA 21037
              Autos (rental, service, gas)
    02/10 Debit PIN Purchase                                                                                   62.00
              GIANT 6506 50 E WYNNE WYNNEWOOD                PAUS05154
    02/10 Debit Card Purchase 02/08 08:59p #4659                                                                2.99
              Prime Video*KJ8C766O3 888-802-3080 WA 21040
    02/10 Debit Card Purchase 02/08 09:56a #4659                                                               14.92                                            8,686.85
              WAWA 294     00002949 NARBERTH             PA 21040
              Food & Beverages
            Total Subtracted/Added                                            4,178.72               9,147.27
     All transaction times and dates reflected are based on Eastern Time.
     Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next
     business day.




  CUSTOMER SERVICE INFORMATION

  IF YOU HAVE QUESTIONS ON:                                YOU CAN CALL:                                              YOU CAN WRITE:
  Checking                                                 888-248-4226                                               Citibank Client Services
                                                           (For Speech and Hearing                                    100 Citibank Drive
                                                           Impaired Customers Only                                    San Antonio, TX 78245-9966
                                                           TTY: 800-945-0258)

Please read the paragraphs below for important information on your accounts with us. Note that some of these products may not be available in all states or in all
packages.

The products reported on this statement have been combined onto one monthly statement at your request. The ownership and title of individual products reported here may be
different from the addressee(s) on the first page.


CHECKING AND SAVINGS
FDIC Insurance:
Products reported in CHECKING and SAVINGS are insured by the Federal Deposit Insurance Corporation. Please consult your Citibank Customer Manual for full details and
limitations of FDIC coverage.

IN CASE OF ERRORS
In Case of Errors or Questions About Your Electronic Fund Transfers:
If you think your statement or record is wrong or if you need more information about a transfer on the statement or record, telephone us or write to us at the address shown in
the Customer Service Information section on your statement as soon as possible. We must hear from you no later than 60 days after we sent you the first statement on which
the error or problem appeared. You are entitled to remedies for error resolution for an electronic fund transfer in accordance with the Electronic Fund Transfer Act and federal
Regulation E or in accordance with laws of the state where your account is located as may be applicable. See your Client Manual for details.
Give us the following information: (1) your name and account number, (2) the dollar amount of the suspected error, (3) describe the error or the transfer you are unsure
about and explain as clearly as you can why you believe there is an error or why you need more information. We will investigate your complaint and will correct any error
promptly. If we take more than 10 business days to do this we will recredit your account for the amount you think is in error, so that you will have use of the money during the
time it takes us to complete our investigation.

The following special procedures apply to errors or questions about international wire transfers or international Citibank Global Transfers to a recipient located in
a foreign country on or after October 28, 2013: Telephone us or write to us at the address shown in the Customer Service Information section on your statement as soon as
possible. We must hear from you within 180 days of the date we indicated to you that the funds would be made available to the recipient of that transfer. At the time you contact
us, we may ask for the following information: 1) your name, address and account number; 2) the name of the person receiving the funds, and if you know it, his or her telephone
number and/or address; 3) the dollar amount of the transfer; 4) the reference code for the transfer; and 5) a description of the error or why you need additional information. We
may also ask you to select a choice of remedy (credit to your account in an amount necessary to resolve the error or alternatively, a resend of the transfer in an amount
necessary to resolve the error for those cases where bank error is found). We will determine whether an error has occurred within 90 days after you contact us. If we determine
that an error has occurred, we will promptly correct that error in accordance with the error resolution procedures under the Electronic Fund Transfer Act and federal Regulation
E or in accordance with the laws of the state where your account is located as may be applicable. See your Client Manual for details.
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                                                                                                                                    010/R1/04F000
      Citibank Client Services 000
      PO Box 6201                                                                                              000
      Sioux Falls, SD 57117-6201                                                                               CITIBANK, N. A.
                                                                                                               Account

                       AARON ABADI                                                                             Statement Period
                       82 NASSAU STREET SUITE 140                                                              Jan 11 - Feb 10, 2021
                       NEW YORK NY              10038-3703

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    BASIC BANKING PACKAGE AS OF FEBRUARY 10, 2021

     Relationship Summary:
     Checking                                                $8,686.85
     Savings                                                    -----
     Investments                                               -----
     (not FDIC Insured)
     Loans                                                     -----




    SUGGESTIONS AND RECO MMENDATIONS
    Effective January 22, 2021 Citibank Global Transfer daily and weekly limits will increase to $50,000
    for transactions conducted on Citibank Online, Citi Mobile and Proprietary Citibank ATMs for clients
    with a Citi Elevate Account Package, Citibank Account Pack age, Basic Banking Package, Access Account Package,
    Citi Miles Ahead Banking Package, and Citibank Student Ac count Package.



    BASIC BANKING PACKAGE FEES
.
.




                 Regular Checking Fees                                                     Your Fees this Statement Period

                 Monthly Service Fe e*                                     $12.00          Waived due to deposit balances

                 Fee for non-Citiban k ATM transaction                      $2.50                 1 @ $2.50 = $2.50

               *To waive the monthl y service fee, make one qualifyin g direct deposit and one qualifying bill payment
               during the statement period, or maintain $1,500+ in qu alifying linked deposit accounts for the previous
               calendar month. Qua lifying bill payments are those ma de using Citibank Online, Citi Mobile or Citiphone
               Banking.

               All fees assessed in t his statement period, including n on-Citibank ATM fees, will appear as charges on
               your next Citibank m onthly statement (to the account t hat is currently debited for your monthly service fee).
               Please refer to your Client Manual-Consumer Account s and Marketplace Addendum booklet for details on
               how we determine yo ur monthly fees and charges.
.



    CHECKING ACTIVITY


      Regular Checking
                                                                                         Beginning Balance:                      $3,718.30
                                                                                         Ending Balance:                         $8,686.85
      Date Description                                                   Amount Subtracted          Amount Added                  Balance
      01/11 ACH Electronic Credit    NYS DOL UI DD   UI DD                                                 182.00
              Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 114 of 141
                                                                                                                  010/R1/04F000
AARON ABADI                                                     Account                          Page 2 of 6
                                                                Statement Period - Jan 11 - Feb 10, 2021

CHECKING ACTIVITY                                                                                              Continued


 Date    Description                                                 Amount Subtracted      Amount Added        Balance
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        182.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   ACH Electronic Credit      NYS DOL UI DD     UI DD                                        600.00
 01/11   Debit PIN Purchase                                                        11.49
         GIANT 6506 50 E WYNNE WYNNEWOOD            PAUS05154
 01/11 Debit PIN Purchase                                                          82.71
         GIANT 6506 50 E WYNNE WYNNEWOOD            PAUS05154
 01/11 Debit Card Purchase 01/07 11:20a #4652                                       5.60                       10,238.50
         WAWA 294     00002949 NARBERTH         PA 21008
         Food & Beverages
 01/12 Debit PIN Purchase                                                          28.15
         GIANT 6506 50 E WYNNE WYNNEWOOD            PAUS05154
 01/12 Debit Card Purchase 01/10 05:52p #4652                                      19.29                       10,191.06
         WAWA 294     00002949 NARBERTH  PA 21011
         Food & Beverages
 01/13   ACH Electronic Credit NYS DOL UI DD UI DD                                                  182.00
 01/13   ACH Electronic Credit NYS DOL UI DD UI DD                                                  300.00
 01/13 Debit Card Purchase 01/11 09:30a #4652                                       2.11
         WAWA 294     00002949 NARBERTH         PA 21012
         Food & Beverages
 01/13 Debit Card Purchase 01/11 09:31a #4652                                       3.49                       10,667.46
         WAWA 294     00002949 NARBERTH         PA 21012
         Food & Beverages
 01/14 Debit Card Purchase 01/12 12:39p #4652                                       4.22                       10,663.24
         WAWA 294     00002949 NARBERTH         PA 21013
         Food & Beverages
 01/15 Debit Card Purchase 01/13 11:46a #4652                                       4.54
         WAWA 40      00000406 BALA CYNWYD PA 21014
         Food & Beverages
 01/15 Debit Card Purchase 01/13 07:50a #4652                                      51.44
         PAYPAL *BETTERSAFE        4029357733    CA 21014
         Specialty Retail stores
 01/15 Debit Card Purchase 01/12 09:06p #4652                                    222.80                        10,384.46
         EZ CONTACTS             800-217-2020 NY 21014
         Specialty Retail stores
 01/19 Debit PIN Purchase                                                          11.49
         GIANT 6506 50 E WYNNE WYNNEWOOD PAUS05154
 01/19   Debit PIN Purchase TARGET T- 4000 Monumen Philadelphia PAUS05154          65.20
 01/19 Debit PIN Purchase                                                          93.24
         GIANT 6506 50 E WYNNE WYNNEWOOD            PAUS05154
 01/19 Cash Withdrawal 01/16 06:59p #4652                                        306.95                         9,907.58
         Non Citi ATM 500 BOARDWALK   ATLANTIC CITYNJUS051
 01/20   ACH Electronic Credit PAYPAL      TRANSFER                                                  11.24
 01/20   ACH Electronic Credit NYS DOL UI DD UI DD                                                  182.00
 01/20   ACH Electronic Credit NYS DOL UI DD UI DD                                                  300.00
 01/20 Debit Card Purchase 01/17 01:32p #4652                                       6.91
         WAWA 909        00009092 CREAM RIDGE NJ 21018
         Autos (rental, service, gas)
 01/20 Debit Card Purchase 01/15 01:28p #4652                                      11.31
         BINGO WHOLESALE           LAKEWOOD       NJ 21016
         Retail stores
 01/20 Debit Card Purchase 01/16 05:46p #4652                                      11.73
         WAWA 933        00009332 JACKSON       NJ 21018
         Autos (rental, service, gas)
 01/20 Debit Card Purchase 01/16 05:47p #4652                                      29.20                       10,341.67
         WAWA 933        00009332 JACKSON NJ 21018
         Autos (rental, service, gas)
 01/21   Debit PIN Purchase TARGET T- 4000 Monumen Philadelphia PAUS05154          10.25
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                                                                                                                010/R1/04F000
AARON ABADI                                                    Account                          Page 3 of 6
                                                               Statement Period - Jan 11 - Feb 10, 2021

CHECKING ACTIVITY                                                                                             Continued


 Date Description                                                   Amount Subtracted      Amount Added       Balance
 01/21 Debit Card Purchase 01/19 12:20p #4652                                   14.82
       WAWA 40      00000406 BALA CYNWYD PA 21020
       Food & Beverages
 01/21 Debit Card Purchase 01/19 12:17p #4652                                     26.17
       SUNOCO 0616500500 QPS BELMONT HILLS PA 21020
       Autos (rental, service, gas)
 01/21 Debit Card Purchase 01/17 09:27p #4652                                   656.58                        9,633.85
       BRITISH 52116356709    800-2479297 NY 21020
       Airlines & Airports
 01/22 Debit Card Purchase 01/20 01:47p #4652                                      2.11
       WAWA 40      00000406 BALA CYNWYD PA 21021
       Food & Beverages
 01/22 Debit Card Purchase 01/20 06:20p #4652                                      8.30                       9,623.44
       DUNKIN #351691 Q35     JERSEY CITY NJ 21021
       Restaurant/Bar
 01/25 Debit PIN Purchase                                                          4.72
       QUICK CHEK CORP        NORTH BRUNSWINJUS05155
 01/25 Debit PIN Purchase                                                         30.61
       GIANT 6506 50 E WYNNE WYNNEWOOD             PAUS05154
 01/25 Debit Card Purchase 01/20 06:26p #4652                                      5.50
       NEWPORT CENTRE W GARAG JERSEY CITY NJ 21022
       Autos (rental, service, gas)
 01/25 Debit Card Purchase 01/21 07:02p #4652                                     15.97
       WAWA 277        00002774 TREVOSE     PA 21022
       Autos (rental, service, gas)
 01/25 Debit Card Purchase 01/21 09:30a #4652                                     23.52                       9,543.12
       WAWA 294     00002949 NARBERTH        PA 21022
       Food & Beverages
 01/26 ACH Electronic Debit GEICO            PREM COLL                          188.12
 01/26 Debit PIN Purchase                                                         9.75
       GIANT 6506 50 E WYNNE WYNNEWOOD             PAUS05154
 01/26 Debit PIN Purchase BINGO WHOLESALE     LAKEWOOD          NJUS05153         15.31
 01/26 Debit Card Purchase 01/24 11:17a #4652                                      5.60
       WAWA 294     00002949 NARBERTH        PA 21025
       Food & Beverages
 01/26 Debit Card Purchase 01/22 06:44p #4652                                      6.53
       JFK INTERNATIONAL AIRP JAMAICA        NY 21023
       Misc Business Services
 01/26 Debit Card Purchase 01/23 11:15a #4652                                      9.37
       UBER TRIP           8005928996   CA 21025
       Misc Transportation
 01/26 Debit Card Purchase 01/22 11:42p #4652                                     13.45
       SUNOCO 0619694300 QPS BELMONT HILLS PA 21025
       Autos (rental, service, gas)
 01/26 Debit Card Purchase 01/22 09:43p #4652                                     15.98
       JERSEY CITY BUY RITE JERSEY CITY NJ 21023
       Food & Beverages
 01/26 Debit Card Purchase 01/21 08:31p #4652                                   107.00                        9,172.01
       AMTRAK M0210671024193 8008727245 DC 21023
       Misc Transportation
 01/27 ACH Electronic Credit NYS DOL UI DD UI DD                                                   182.00
 01/27 ACH Electronic Credit NYS DOL UI DD UI DD                                                   300.00     9,654.01
 01/28 Debit Card Purchase 01/26 09:18a #4652                                      5.60
       WAWA 294     00002949 NARBERTH        PA 21027
       Food & Beverages
 01/28 Cash Withdrawal 03:09p #4652                                             400.00                        9,248.41
       Citibank ATM 530 CNTRL AV, CEDARHURST, NY
 01/29 Debit PIN Purchase                                                         11.49
       GIANT 6506 50 E WYNNE WYNNEWOOD             PAUS05154
 01/29 Debit PIN Purchase                                                         51.39
       GIANT 6506 50 E WYNNE WYNNEWOOD             PAUS05154
 01/29 Debit Card Purchase 01/27 10:55p #4652                                     13.95
       WAWA 933        00009332 JACKSON     NJ 21028
       Autos (rental, service, gas)
 01/29 Debit Card Purchase 01/26 11:22a #4652                                     27.81                       9,143.77
       CHERRY HILL VALERO CHERRY HILL NJ 21028
       Autos (rental, service, gas)
 02/01 ACH Electronic Debit CREDITCARD PYMNT PAYBYPHONE                           47.14
 02/01 Debit Card Purchase 01/28 10:37a #4652                                      2.12
       WAWA 743     00007435 LAKEWOOD        NJ 21029
       Food & Beverages
 02/01 Debit Card Purchase 01/27 08:30p #4652                                      3.00
       www.cvs.com        800-746-7287 RI 21029
       Food & Beverages
 02/01 Debit Card Purchase 01/28 01:56p #4652                                     10.84
       PANERA BREAD #204656 LAWRENCE           NY 21029
       Restaurant/Bar
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AARON ABADI                                                       Account                         Page 4 of 6
                                                                  Statement        - Jan 11 - Feb 10, 2021

CHECKING ACTIVITY                                                                                               Continued


 Date Description                                                       Amount Subtracted    Amount Added       Balance
 02/01 Debit Card Purchase 01/28 03:02a #4652                                       18.98                       9,061.69
       WEB*NETWORKSOLUTIONS 8886429675 FL 21029
       Misc Mail & Phone orders
 02/02 ACH Electronic Debit GenesisFS Card 8669469545 000001278047212               28.33
 02/02 ACH Electronic Debit CONT FINANCE PAY BY PHO                                250.00
 02/02 Debit Card Purchase 01/29 02:51p #4652                                        2.11
       WAWA 294     00002949 NARBERTH         PA 21030
       Food & Beverages
 02/02 Debit Card Purchase 01/28 11:19p #4652                                        2.33
       SUNOCO 0368301801 QPS WOODBRIDGE TW NJ 21030
       Autos (rental, service, gas)
 02/02 Debit Card Purchase 01/28 10:52p #4652                                       20.02
       EXXONMOBIL 97491104 BROOKLYN             NY 21030
       Autos (rental, service, gas)
 02/02 Debit Card Purchase 01/29 02:12p #4652                                       35.00
       SLING.COM            8883886210   CO 21030
       Phones, Cable & Utilities
 02/02 Debit Card Purchase 01/28 02:28p #4652                                       37.00
       GOODYEAR AUTO SVS CTR LAWRENCE                NY 21030
       Autos (rental, service, gas)
 02/02 Debit Card Purchase 01/28 03:34p #4652                                       55.33
       GOURMET GLATT - CEDARH CEDARHURST              NY 21030
       Food & Beverages
 02/02 Debit Card Purchase 01/30 11:27a #4652                                      100.00                       8,531.57
       EXXONMOBIL 98701972 CARTERET            NJ 21032
       Autos (rental, service, gas)
 02/04 Debit Card Purchase Adjustment                                                                100.00
       EXXONMOBIL98701972CARTERETNJ21032
 02/04 ACH Electronic Credit NYS DOL UI DD UI DD                                                     182.00
 02/04 ACH Electronic Credit NYS DOL UI DD UI DD                                                     300.00
 02/04 ACH Electronic Debit CONT FINANCE PAY BY PHO                                500.00
 02/04 Debit PIN Purchase                                                            4.02                       8,609.55
       GIANT 6506 50 E WYNNE WYNNEWOOD PAUS05154
 02/05 Debit PIN Purchase 7-ELEVEN      JERSEY CITY NJUS05155                        8.36
 02/05 Debit PIN Purchase BELT PARKWAY RE   BROOKLYN NYUS00155                      35.83
 02/05 Debit Card Purchase 02/03 02:35p #4659                                       24.04                       8,541.32
       TST* SUSHI & CO       NEW YORK       NY 21035
       Restaurant/Bar
 02/08 Debit PIN Purchase                                                           26.74
       GIANT 6506 50 E WYNNE WYNNEWOOD              PAUS05154
 02/08 Debit PIN Purchase                                                           30.30
       SUNOCO 06196943     BELMONT HILLSPAUS00155
 02/08 Debit PIN   Purchase SUNOCO 01797430   JAMAICA            NYUS00155          37.00
 02/08 Debit Card Purchase 02/03 11:13p #4659                                        2.23
       QUICK CHEK CORPORATI NORTH BRUNSWI NJ 21036
       Autos (rental, service, gas)
 02/08 Debit Card Purchase 02/04 11:26a #4659                                       11.44
       WAWA 294     00002949 NARBERTH         PA 21036
       Food & Beverages
 02/08 Debit Card Purchase 02/03 06:51p #4659                                       27.34                       8,406.27
       LYFT RIDE WED 7PM       8558659553    CA 21036
       Misc Transportation
 02/09 Debit Card Purchase Return 02/07 #4659                                                          6.03
       LYFT *CANCEL FEE       8558659553    CA 21039
       Misc Transportation
 02/09 ACH Electronic Credit     NYS DOL UI DD       UI DD                                           182.00
 02/09 ACH Electronic Credit     NYS DOL UI DD       UI DD                                           300.00
 02/09 Debit PIN Purchase                                                           14.84
       ROYAL FARMS #31        WHITE MARSH MDUS05155
 02/09 Debit PIN Purchase                                                           27.80
       ROYAL FARMS #31        WHITE MARSH MDUS00155
 02/09 Debit Card Purchase 02/07 11:37a #4659                                        2.11
       WAWA 294     00002949 NARBERTH         PA 21039
       Food & Beverages
 02/09 Debit Card Purchase 02/05 11:37p #4659                                        2.12
       WAWA 8339 00083394 LAWRENCE TWP NJ 21037
       Autos (rental, service, gas)
 02/09 Debit Card Purchase 02/06 08:39p #4659                                        6.03
       LYFT *CANCEL FEE       855-865-9553 CA 21039
       Misc Transportation
 02/09 Debit Card Purchase 02/06 08:30p #4659                                        6.03
       LYFT *CANCEL FEE       855-865-9553 CA 21039
       Misc Transportation
 02/09 Debit Card Purchase 02/06 10:25p #4659                                        8.40
       DUNKIN #353390        ISELIN      NJ 21039
       Restaurant/Bar
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                                                                                                                                                                   010/R1/04F000
  AARON ABADI                                                                     Account                          Page 5 of 6
                                                                                  Statement Period - Jan 11 - Feb 10, 2021

  CHECKING ACTIVITY                                                                                                                                            Continued


    Date Description                                                                       Amount Subtracted                 Amount Added                       Balance
    02/09 Debit Card Purchase 02/06 07:03p #4659                                                        9.41
              BRITISH 12521163541980 344-4930787 NY 21039
              Airlines & Airports
    02/09 Debit Card Purchase 02/07 #4659                                                                      20.80
              LYFT RIDE SAT 8PM         8558659553     CA 21039
              Misc Transportation
    02/09 Debit Card Purchase 02/05 04:19p #4659                                                               30.00                                            8,766.76
              PARKING 05411-WALNUT T 215-569-8400 PA 21037
              Autos (rental, service, gas)
    02/10 Debit PIN Purchase                                                                                   62.00
              GIANT 6506 50 E WYNNE WYNNEWOOD                PAUS05154
    02/10 Debit Card Purchase 02/08 08:59p #4659                                                                2.99
              Prime Video*KJ8C766O3 888-802-3080 WA 21040
    02/10 Debit Card Purchase 02/08 09:56a #4659                                                               14.92                                            8,686.85
              WAWA 294     00002949 NARBERTH             PA 21040
              Food & Beverages
            Total Subtracted/Added                                            4,178.72               9,147.27
     All transaction times and dates reflected are based on Eastern Time.
     Transactions made on weekends, bank holidays or after bank business hours are not reflected in your account until the next
     business day.




  CUSTOMER SERVICE INFORMATION

  IF YOU HAVE QUESTIONS ON:                                YOU CAN CALL:                                              YOU CAN WRITE:
  Checking                                                 888-248-4226                                               Citibank Client Services
                                                           (For Speech and Hearing                                    100 Citibank Drive
                                                           Impaired Customers Only                                    San Antonio, TX 78245-9966
                                                           TTY: 800-945-0258)

Please read the paragraphs below for important information on your accounts with us. Note that some of these products may not be available in all states or in all
packages.

The products reported on this statement have been combined onto one monthly statement at your request. The ownership and title of individual products reported here may be
different from the addressee(s) on the first page.


CHECKING AND SAVINGS
FDIC Insurance:
Products reported in CHECKING and SAVINGS are insured by the Federal Deposit Insurance Corporation. Please consult your Citibank Customer Manual for full details and
limitations of FDIC coverage.

IN CASE OF ERRORS
In Case of Errors or Questions About Your Electronic Fund Transfers:
If you think your statement or record is wrong or if you need more information about a transfer on the statement or record, telephone us or write to us at the address shown in
the Customer Service Information section on your statement as soon as possible. We must hear from you no later than 60 days after we sent you the first statement on which
the error or problem appeared. You are entitled to remedies for error resolution for an electronic fund transfer in accordance with the Electronic Fund Transfer Act and federal
Regulation E or in accordance with laws of the state where your account is located as may be applicable. See your Client Manual for details.
Give us the following information: (1) your name and account number, (2) the dollar amount of the suspected error, (3) describe the error or the transfer you are unsure
about and explain as clearly as you can why you believe there is an error or why you need more information. We will investigate your complaint and will correct any error
promptly. If we take more than 10 business days to do this we will recredit your account for the amount you think is in error, so that you will have use of the money during the
time it takes us to complete our investigation.

The following special procedures apply to errors or questions about international wire transfers or international Citibank Global Transfers to a recipient located in
a foreign country on or after October 28, 2013: Telephone us or write to us at the address shown in the Customer Service Information section on your statement as soon as
possible. We must hear from you within 180 days of the date we indicated to you that the funds would be made available to the recipient of that transfer. At the time you contact
us, we may ask for the following information: 1) your name, address and account number; 2) the name of the person receiving the funds, and if you know it, his or her telephone
number and/or address; 3) the dollar amount of the transfer; 4) the reference code for the transfer; and 5) a description of the error or why you need additional information. We
may also ask you to select a choice of remedy (credit to your account in an amount necessary to resolve the error or alternatively, a resend of the transfer in an amount
necessary to resolve the error for those cases where bank error is found). We will determine whether an error has occurred within 90 days after you contact us. If we determine
that an error has occurred, we will promptly correct that error in accordance with the error resolution procedures under the Electronic Fund Transfer Act and federal Regulation
E or in accordance with the laws of the state where your account is located as may be applicable. See your Client Manual for details.
                    Case 1:21-cv-10825-PGG-SN Document 2 Filed 12/16/21 Page 118 of 141
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  AARON ABADI                                                                       Account                          Page 6 of 6
                                                                                    Statement Period - Jan 11 - Feb 10, 2021

Citibank is an Equal Housing Lender.




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Citi, Citi and Arc Design and other marks used herein are service marks of Citigroup Inc. or its affiliates, used and registered throughout the world.

                                     TO RECONCILE YOUR CHECKBOOK WITH THIS STATEMENT, FOLLOW THESE SIMPLE RULES
                                                                                                                    Checks and Other Withdrawals Outstanding
1. List in your checkbook any deposits, withdrawals and service charges which are shown on                  (Made by you but not yet indicated as paid on your statement)
   your statement, but not recorded in your checkbook. Adjust your checkbook accordingly.
                                                                                                      Number or Date                                     Amount
2. Mark off in your checkbook all checks paid, withdrawals, or deposits listed on your statement.

3. List and total in the "Checks and Other Withdrawals Outstanding" column at the right all
   issued checks that have not been paid by Citibank together with any applicable check charges
   and all withdrawals made from your account since your last statement.

4. Deduct from your checkbook balance any service or other charge (including pre-authorized
   transfers or automatic deductions) that you have not already deducted.

5. Add to your checkbook balance any interest-earned deposit shown on this statement.

6. Record Closing Balance here (as shown on statement).

7. Add deposits or transfers you recorded which are not shown
   on this statement.



8. Total (6 and 7 above).
                                                                                                      Sum of check charges
9. Enter Total "Checks and Other Withdrawals Outstanding"(from right).
                                                                                                      on or above if applicable
BALANCE       (8 less 9 should equal your checkbook balance).
                                                                                                                                  Total
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    Legal menu

     Conditions of Carriage
                                                   General Conditions of Carriage
     Conditions of Carriage

     British Airways Conditions of
                                                  General Conditions of Car riage for Passengers and Baggage
     Carriage
                                                  When you buy a ticket to travel on a flight we operate, you enter into a contract of carriage with us.

    Website terms and conditions                  The contract is governed by:

                                                 • the conditions in your ticket or itinerary and receipt
    Privacy Policy                      V
                                                 • any tariffs which apply
     Cookies                                     • Conditions of carriage
                                                 • our regulations
     Website security

     Flight cancellation and long

                                                  ,
                                                  Show all       Hide all
     delays

                                                        1. What particular expressions mean in these conditions
     Air carrier liability
                                                  A


     EU banned/restricted carriers                We, us, our - British Airways Pie, BA CityFlyer.

                                                  You, your - any person holding a ticket who is to be carried or is carried on an aircraft, except members of the crew,
     Global service fees
                                                  or, in relation to ticket refunds, the person who paid for the ticket. (See also the definition for passenger.)

     Contact us                                   Ag reed stopp ing places - the places, except the place of departure and the place of destination, set out in your
                                                  ticket or shown in our timetables as scheduled stopping places on your route.
     Passenger notices
                                                  Airline designator code - the two or three letters or the letter and number which identify particular carriers.

     Package booking terms and                    Authorised agent - a passenger sales agent who we have appointed to represent us in selling air transportation on
     conditions                                   our services.

                                                  Baggage - your personal property accompanying you on your flight. Unless we say otherwise, this consists of your
                                                  checked and unchecked baggage.

                                                  Baggage check - the parts of your ticket which relate to carrying your checked baggage.

                                                  Baggage iden tification tag - a document we give you to identify each piece of your checked baggage.

                                                  Carrier - an air carrier.

                                                  Checked baggage - baggage which we have taken into our custody and for which we have issued a baggage
                                                  identification tag or a baggage check or both. (Checked baggage travels in the hold of the aircraft.)

                                                  Check-in deadline - the time limit we have set by which you must have completed check-in and received your
                                                  boarding pass.

                                                  Conditions of carriage - these cond itions of carriage or another carrier's conditions of carriage as the case may
                                                  be.

                                                  Conjunction ticket - a ticket we have issued to you in conjunction with another ticket which together make up a
                                                  single contract of carriage.

                                                  Connecting flight - a subsequent flight providing onward travel on the same ticket or on a conjunction ticket.

                                                  Con sumer - a man or a woman who has bought a ticket under a contract governed by the law of a member state of
                                                  the European Union and plans to use it for travel outside his or her trade, business or profession.


https://www.britishairways.com/en-us/information/legal/british-airways/general-conditions-of-carriage                                                                      1/21
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